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                                      UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NORTH DAKOTA


            In Re:                                                Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                     Chapter 11

                                     Debtor.


             DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS: (I) AUTHORIZING
                 THE DEBTOR TO ASSUME THE CONSULTING AGREEMENT, (II)
               AUTHORIZING AND APPROVING THE CONDUCT OF STORE CLOSING
            SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL LIENS, CLAIMS
                 AND ENCUMBRANCES, AND (III) GRANTING RELATED RELIEF


                     Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

            hereby moves the Court (“Motion”), pursuant to Sections 105(a) and 363, 365, and 554 of

            Title 11 of the United States Code, 11 U.S.C. §§ 101 et. seq. (“Bankruptcy Code”), and

            Rules 2002, 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy

            Rules”), for entry of an interim order, substantially in the form attached hereto as Exhibit A

            (the “Interim Order”), and a final order (the “Final Order”)1: (i) authorizing the Debtor to

            assume the Consulting Agreement (the “Consulting Agreement”) dated as of February 27,

            2017, by and between Debtor, on the one hand, and Tiger Capital Group, LLC (the

            “Consultant”), on the other hand, a copy of which is attached as Exhibit B, (ii) authorizing

            the Debtor to continue store closing or similar themed sales in accordance with the

            Agreement and the terms of the store closing sale guidelines (the “Sale Guidelines”), a copy

            of which are attached as Exhibit C, with such sales to be free and clear of all liens, claims,

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                         A proposed form of the Final Order will be filed with the Court prior to the Final
            Hearing.




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            and encumbrances; and (iii) granting certain related relief. In support of this Motion, Debtor

            relies on the Declaration of Jill Motschenbacher in Support of Chapter 11 Petition and First

            Day Motions (“First Day Declaration”), which was filed contemporaneously with this

            Motion and is incorporated herein by reference. In further Support of this Motion, Debtor

            respectfully represents as follows:

                                          JURISDICTION AND VENUE

                     1.   The Court has jurisdiction over this Chapter 11 case and this Motion pursuant

            to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and

            Debtor consents to entry of a final order by the Court in connection with this Motion to the

            extent it is later determined the Court, absent consent of the parties, cannot enter final order

            or judgments in connection herewith consistent with Article III of the United States

            Constitution. Venue of this Chapter 11 case and this Motion in this district is proper under

            28 U.S.C. §§ 1408 and 1409.

                     2.   The statutory bases for the relief requested herein are Sections 105(a), 363,

            365, and 554 of the Bankruptcy Code and the Bankruptcy Rules 2002, 6003 and 6004.

                                                  BACKGROUND

            I.       GENERAL

                     3.   On the date hereof (“Petition Date”), Debtor commenced a voluntary case

            under Chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

            business and manage its property as debtor in possession pursuant to Sections 1107(a) and

            1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

            been appointed in this Chapter 11 case. Additional factual background relating to Debtor’s




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            business, capital structure, and the commencement of this Chapter 11 case is set forth in

            further detail in the First Day Declaration.

            II.    THE DEBTOR’S STORES.

                   4.      As set forth in further detail in the First Day Declaration, the Debtor is a

            regional specialty retailer of casual apparel and accessories for fashion-conscious young

            women. The Debtor is privately owned and sells its own private-label goods, along with an

            assortment of private-label branded denim, through approximately 137 mall-based stores in

            27 states and through its website, Vanity.com, which was launched in 2008.

                   5.      After attempts to develop going-concern restructuring options proved

            unsuccessful, the Debtor determined, upon consultation with its key constituents, that

            commencing going-out-of-business sales (collectively, the “Store Closing Sales”) through

            the Debtor’s retail locations (collectively, the “Stores”) and this Chapter 11 case provided

            the best opportunity to maximize value for the Debtor’s estate, creditors and all interested

            parties.    This decision was reached only upon considering all reasonable alternatives,

            exploring and entertaining creative restructuring solutions.

            III.   THE STORE CLOSING SALES AND PREPETITION MARKETING
                   EFFORTS.

                   6.      Accordingly, in February 2017, the Debtor and its advisors began contacting

            certain nationally-recognized potential liquidators (the only parties that can effectuate a

            transaction of this magnitude) to solicit interest in bidding on the right to conduct the Store

            Closing Sales. The Debtor initially contemplated soliciting a bid from Hilco Merchant

            Resources, LLC (who has routinely performed inventory appraisals and liquidation analyses

            of Debtor’s assets every six months) but was advised that Hilco is currently unavailable to



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            take on another liquidation project at this time. Debtor discussed the Store Closing Sales and

            solicited bids from Consultant, a nationally-recognized liquidator firm, to conduct the same.

            The Debtor selected the Consultant to conduct the Store Closing Sales, and determined to

            close the Stores and liquidate the merchandise (the “Merchandise”) and furniture, fixtures,

            and equipment (the “FF&E” and together with the Merchandise, the “Store Closing

            Assets”) at each of the Stores in accordance with the terms of the Consulting Agreement (the

            material terms of which are set forth below) and the Sale Guidelines. Accordingly, the Store

            Closing Sales are scheduled to commence on March 2, 2017.

            IV.    THE CONSULTING AGREEMENT

                   7.     Under the terms of the Consulting Agreement, subject to the Court’s approval

            of the attached Interim Order and a subsequent Final Order, respectively, the Consultant will

            serve as the exclusive agent to the Debtor for the purpose of conducting a sale of the Store

            Closing Assets using the procedures outlined in the Sale Guidelines.

                   8.     Debtor negotiated the terms and conditions of the Consulting Agreement in

            good faith and at arms’ length. The terms set forth in the Consulting Agreement – including

            Consultant’s compensation—are consistent with industry standards. The Debtor seeks to

            assume the Consulting Agreement so that it may leverage the experience and resources of the

            Consultant in performing large-scale liquidations while retaining control over the sale

            process, which the Debtor believes will provide the maximum benefit to the estate.




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                   9.     The Consulting Agreement is provided in its entirety as Exhibit B to this

            Motion. However, the material terms are summarized in the table below2:

                                         DESCRIPTION OF APPLICABLE CONSULTING
                       TERM
                                                    AGREEMENT PROVISIONS
            Sale Commencement        Thursday, March 2, 2017
            Date
            Sale Termination         April 30, 2017, unless Debtor and Consultant mutually agree to
            Date                     extend.
            Consultant’s Services    During the Sale Term, Consultant shall provide Merchant with
                                     the following services with respect to the conduct of the Sale: (a)
                                     provide qualified supervisors (the “Supervisors”) engaged by
                                     Consultant to oversee the Sale of the Merchandise from the
                                     Stores; (b) determine appropriate point-of-sale and external
                                     advertising for the Stores, approved in advance by Merchant; (c)
                                     determine appropriate discounts with respect to Merchandise,
                                     staffing levels for the Stores and the DCs, approved in advance by
                                     Merchant, and appropriate bonus and incentive programs, if any,
                                     for the Stores’ and the DCs’ employees, approved in advance by
                                     Merchant; (d) oversee display of Merchandise for the Stores; (e)
                                     evaluate sales of Merchandise by category and sales reporting and
                                     monitor expenses; (f) maintain the confidentiality of all
                                     proprietary or non-public information regarding Merchant in
                                     accordance with the provisions of the confidentiality agreement
                                     signed by the Parties; (g) assist Merchant in connection with
                                     managing and controlling loss prevention and employee relations
                                     matters; and (h) provide such other related services deemed
                                     necessary or appropriate by Merchant and Consultant.
            Merchant’s Duties        Merchant shall (a) be the employer of the Stores’ and the DCs’
                                     employees, other than the Supervisors, and provide employees at
                                     the Stores and the DCs; (b) pay all taxes, costs, expenses,
                                     accounts payable, and other liabilities relating to the Stores, the
                                     DCs, the Stores’ employees and other representatives of
                                     Merchant; (c) prepare and process all tax forms and other
                                     documentation; (d) collect all sales taxes and pay them to the
                                     appropriate taxing authorities for the Stores; (e) use reasonable
                                     efforts to cause Merchant’s employees to cooperate with

                   2
                    All capitalized terms set forth in the table below have the meaning ascribed under
            the Consulting Agreement unless otherwise defined in the table below. To the extent there is
            any conflict between the summarized terms in this paragraph 9 and the Consulting
            Agreement, the Consulting Agreement shall control.



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                                Consultant and the Supervisors; (f) execute all agreements
                                determined by the Merchant and Consultant to be necessary or
                                desirable for the operation of the Stores, the DCs during the Sale;
                                (g) arrange for the ordinary maintenance of all point-of-sale
                                equipment required for the Stores; (h) ensure that Consultant has
                                quiet use and enjoyment of, and reasonable access to, the Stores
                                and the DCs for the Sale Term in order to perform its obligations
                                under this Agreement; (i) use reasonable efforts to cause
                                Merchant’s employees to cooperate with Consultant and the
                                Supervisors.

                                Additionally, Merchant shall provide central administrative
                                services necessary for the Sale, including, without limitation,
                                customary POS administration, sales audit, cash reconciliation,
                                accounting, and payroll processing, credit card systems and
                                servicing arrangement during the course of the Sale at no cost to
                                Consultant.

                                Merchant shall be solely responsible for all expenses of the Sale,
                                including, without limitation, (A) all Store-level and DC-level
                                operating expenses and (B) to the extent in compliance with the
                                Expense Budget (as defined below).




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            Consultant’s Fees and In consideration of its services hereunder with respect to the
            Expenses              Stores, Consultant shall earn a fee (the “Merchandise Fee”)
                                  equal to the product of the Gross Proceeds of the Merchandise
                                  and the percentage determined pursuant to the following table
                                  (the “Consultant’s Percentage”):

                                                                          Consultant’s
                                             Recovery Percentage          Percentage
                                                 < 135.00%                  0.00%
                                               135.00-139.99%               1.00%
                                               140.00-144.99%               1.50%
                                                 ≥ 145.00%                  2.00%

                                   The Recovery Percentage for the Merchandise shall be
                                   determined in connection with the Final Reconciliation, and once
                                   determined, the Parties (as part of the Final Reconciliation) shall
                                   determine the applicable Consultant’s Percentage.            Once
                                   Consultant’s Percentage is determined, the Merchandise Fee shall
                                   be calculated using the applicable Consultant’s Percentage back
                                   to dollar one.

                                   If requested by Merchant, Consultant shall sell Merchant’s goods
                                   not constituting Merchandise during the Sale at the Stores, and in
                                   consideration of such services with respect to the Stores,
                                   consultant shall earn a fee equal to the twenty percent (20%)
                                   multiplied by the Gross Proceeds from the sale of such goods at
                                   the Stores

                                   Upon execution of the Consulting Agreement, Merchant shall
                                   advance Consultant $200,000 (the “Retainer”) to cover expenses
                                   of the Sale (including, without limitation, supervision and
                                   advertising) and amounts due to Consultant. Prior to the entry of
                                   the Final Retention Order, Merchant shall not be permitted to
                                   apply (by offset or otherwise) the Retainer against any amounts
                                   due and owing to Consultant; provided, that, if the Bankruptcy
                                   Court declines to enter the Interim Retention Order, Merchant
                                   shall be allowed to use the Retainer to pay all amounts due
                                   Consultant under this Consulting Agreement.. From and after the
                                   entry of the Final Retention Order, the Retainer shall be applied
                                   to expenses required to be reimbursed to Consultant by Merchant
                                   and other amounts payable to Consultant in accordance with the
                                   terms of the Consulting Agreement.




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            Expense Budget          Advertisement           $154,895
                                    Supervision              508,956
                                    Miscellaneous             60,000
                                    Total Consultant Exp.   $723,851

            Additional Consultant Consultant shall have the right, at Consultant’s sole cost and
            Goods and Fee for     expense, to supplement the Merchandise in the Sale with
            Sale of Same          additional goods procured by Consultant which are of like kind,
                                  and no lesser quality, to the Merchandise in the Sale (“Additional
                                  Merchandise”). Consultant shall consult with Merchant with
                                  respect to the Additional Merchandise to ensure that the
                                  Additional Merchandise is of like kind, and no lesser quality, to
                                  the Merchandise in the Sale and is in categories designed to
                                  enhance the Sale.

                                    The Additional Merchandise shall be purchased by Consultant as
                                    part of the Sale, and delivered to the Stores at Consultant’s sole
                                    expense (including as to labor, freight and insurance relative to
                                    shipping such Additional Merchandise to the Stores). Sale of
                                    Additional Merchandise shall be run through Merchant’s cash
                                    register systems. Consultant shall provide signage in the Stores
                                    notifying customers that the Additional Merchandise have been
                                    included in the Sale.

                                    Consultant shall pay to Merchant an amount equal to five percent
                                    (5.00%) of the Gross Proceeds from the sale of the Additional
                                    Merchandise (the “Additional Merchandise Fee”). Consultant
                                    shall retain all remaining amounts from the sale of the Additional
                                    Merchandise Consultant. Merchant and Lender intend that the
                                    transactions relating to the Additional Merchandise are, and shall
                                    be construed as, a true consignment from Consultant to Merchant
                                    in all respects and not a consignment for security purposes.




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            Consultant’s Lien       Consultant shall be granted a valid, binding and enforceable
            Rights                  security interest in and lien upon (i) the Additional Merchandise
                                    and (ii) the Additional Merchandise proceeds (with respect to the
                                    Additional Merchandise and the identifiable Additional
                                    Merchandise proceeds, senior to all other liens on such collateral,
                                    including, without limitation, any liens in favor of any Lender).

                                    Merchant shall deposit on a weekly basis 1% of the prior week’s
                                    Gross Proceeds from the sale of Merchandise in a segregated
                                    account (the “Segregated Account”). The Merchandise Fee, the
                                    FF&E Fee, any proceeds from the sale of Additional Merchandise
                                    owed to Consultant and all of Merchant’s other payment
                                    obligations to Consultant under this Agreement shall be secured
                                    by (and Merchant hereby grants to Consultant) a first priority
                                    security interest in and lien on the Segregated Account and all
                                    funds on deposit therein. Such security interest and lien created
                                    hereunder is (i) validly created, (ii) effective upon immediately
                                    upon execution of this Agreement, (iii) senior to all other liens on
                                    such collateral, including, without limitation, any liens in favor of
                                    Wells Fargo (to the extent permitted by applicable law).




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            Indemnification by       Merchant shall indemnify, defend, and hold Consultant and its
            Merchant (Debtor)        consultants, members, managers, partners, officers, directors,
                                     employees, attorneys, advisors, representatives, lenders, potential
                                     co-investors, principals, affiliates, and Supervisors (collectively,
                                     "Consultant Indemnified Parties") harmless from and against
                                     all liabilities, claims, demands, damages, costs and expenses
                                     (including reasonable attorneys' fees) arising from or related to:
                                     (a) the willful or negligent acts or omissions of Merchant or the
                                     Merchant Indemnified Parties (as defined below); (b) the material
                                     breach of any provision of this Agreement by Merchant; (c) any
                                     liability or other claims, including, without limitation, product
                                     liability claims, asserted by customers, any Store employees
                                     (under a collective bargaining agreement or otherwise), or any
                                     other person (excluding Consultant Indemnified Parties) against
                                     Consultant or an Consultant Indemnified Party, except claims
                                     arising from Consultant’s gross negligence, willful misconduct or
                                     unlawful behavior; (d) any harassment, discrimination or
                                     violation of any laws or regulations or any other unlawful,
                                     tortuous or otherwise actionable treatment of Consultant’s
                                     Indemnified Parties or Merchant’s customers by Merchant or
                                     Merchant’s Indemnified Parties; and (e) Merchant’s failure to pay
                                     over to the appropriate taxing authority any taxes required to be
                                     paid by Merchant during the Sale Term in accordance with
                                     applicable law.




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            Indemnification by         Consultant shall indemnify, defend and hold Merchant and its
            Consultant                 consultants, members, managers, partners, officers, directors,
                                       employees, attorneys, advisors, representatives, lenders, potential
                                       co-investors, principals, and affiliates (other than the Consultant
                                       or the Consultant Indemnified Parties) (collectively, "Merchant
                                       Indemnified Parties") harmless from and against all liabilities,
                                       claims, demands, damages, costs and expenses (including
                                       reasonable attorneys' fees) arising from or related to (a) the
                                       willful or grossly negligent acts or omissions of Consultant or the
                                       Consultant Indemnified Parties; (b) the breach of any provision
                                       of, or the failure to perform any obligation under, this Agreement
                                       by Consultant; (c) any liability or other claims made by
                                       Consultant’s Indemnified Parties or any other person (excluding
                                       Merchant Indemnified Parties) against a Merchant Indemnified
                                       Party arising out of or related to Consultant’s conduct of the Sale,
                                       except claims arising from Merchant’s negligence, willful
                                       misconduct, or unlawful behavior; (d) any harassment,
                                       discrimination or violation of any laws or regulations or any other
                                       unlawful, tortuous or otherwise actionable treatment of Merchant
                                       Indemnified Parties, or Merchant’s customers by Consultant or
                                       any of the Consultant Indemnified Parties and (e) any claims
                                       made by any party engaged by Consultant as an employee, agent,
                                       representative or independent contractor arising out of such
                                       engagement.

                   10.    As set forth in its Motion for Entry of an Order Authorizing Maintenance,

            Administration, and Continuation of Certain Customer Programs, Debtor is no longer selling

            gift cards. However, gift cards, and coupons that were issued prior to the Petition Date will

            continue to be honored, and returns of Merchandise purchased pre-petition will be accepted

            for ten (10) days from the Petition Date, subject to all other terms set forth in Debtor’s return

            and exchange policy.

                   11.    Debtor and Consultant have begun the process of preparing for the Store

            Closing Sales, including (a) determining how to distribute its remaining inventory across its

            Stores to maximize proceeds realized from the Store Closing Sales; (b) ordering customized

            specialty banners and signs to announce the Store Closing Sales at the Stores; and (c)



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            engaging with Debtor’s employees about the Store Closing Sales. Further, Consultant has

            worked to familiarize itself with Debtor’s operations, the Merchandise, the Stores, and other

            Store Assets.

                    12.     On February 27, 2017, following the execution of the Consulting Agreement,

            the Consultant began preparations to officially launch the Store Closing Sales on March 2,

            2017.

                                                RELIEF REQUESTED

                    13.     By this Motion, Debtor seeks the entry of the Interim Order and Final Order

            (a) authorizing Debtor to assume the Consulting Agreement; (b) authorizing Debtor to

            conduct the Store Closing Sales in accordance with the Consulting Agreement and Sale

            Guidelines, with all such sales being free and clear of all liens, claims, and encumbrances;

            and (c) granting certain other related relief.

                                         BASIS FOR RELIEF REQUESTED

            A.      Assumption of the Consulting Agreement is Warranted under Bankruptcy Code
                    § 365.

                    14.     Debtor requests authority to assume the Consulting Agreement under

            Bankruptcy Code § 365(a), which permits Debtor to assume or reject any executory contract

            or unexpired lease subject to court approval. The Eighth Circuit has adopted the business

            judgment rule for determining whether a debtor is justified in assuming or rejecting an

            executory contract. See Crystalin, LLC v. Selma Props. Inc. (In re Crystalin, LLC), 293 B.R.

            455, 463 (B.A.P. 8th Cir. 2003). Under the business judgment rule, “management of a

            corporation’s affairs is placed in the hands of its board of directors and officers, and the

            Court should interfere with their decisions only if it is made clear that those decisions are,



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            inter alia, clearly erroneous, made arbitrarily, are in breach of the officers’ and directors’

            fiduciary duty to the corporation, are made on the basis of inadequate information or study,

            are made in bad faith, or are in violation of the Bankruptcy Code.” In re Farmland Indus.,

            Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003) (citing In re United Artists Theatre Co., 315

            F.3d 217, 233 (3d Cir. 2003). In order to satisfy the business judgment rule in the Eighth

            Circuit, a debtor must carry its burden to show some benefit to the estate. Crystalin, 293

            B.R. at 464. However, courts emphasize that “this test is not an onerous one”, Id. at 463, see

            also In re AbitibiBowater, 418 B.R. 815, 831 (Bankr. D. Del. 2009) (the business judgment

            standard is “not a difficult standard to satisfy”), and courts should find this prong of the

            analysis met “‘as long as the proposed action appears to enhance the debtor’s estate.’”

            Crystalin, 293 B.R. at 464 (quoting Four B. Corp. v. Food Barn Stores, Inc. (In re Food

            Barn Stores, Inc.), 107 F.3d 558, 566 n.16 (8th Cir. 1997) (emphasis original, internal

            alterations and quotations omitted)). Once a benefit to the estate has been shown, only a

            finding of “bad faith or gross abuse of . . . ‘business discretion’” should prevent the debtor

            from assuming the contract. Id. (quoting Lubrizol Enters., Inc. v. Richmond Metal Finishers,

            Inc., 756 F.2d 1043, 1047 (4th Cir. 1985)); In re HQ Global Holdings, Inc., 290 B.R. 507,

            511 (Bankr. D. Del. 2003) (stating a debtor’s decision to reject an executory contract is

            governed by the business judgment standard and can only be overturned if the decision was

            the product of bad faith, whim, or caprice).

                   15.    The business judgment rule is crucial in Chapter 11 cases and shields a

            debtor’s management from judicial second-guessing.         See In re Integrated Res., Inc.,

            147 B.R. 650, 656 (S.D.N.Y. 1992); see also Comm. of Asbestos Related Litigants and/or




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            Creditors v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 615–16

            (Bankr. S.D.N.Y. 1986) (“[T]he Code favors the continued operation of a business by a

            debtor and a presumption of reasonableness attached to a debtor’s management decisions.”).

            In this case, Debtor has satisfied the “business judgment” standard and has a sound business

            reason for seeking to assume the Consulting Agreement. As detailed above and in the First

            Day Declaration, it has proven impossible to restructure Debtor’s business as a going

            concern, notwithstanding Debtor’s best efforts. Debtor, in consultation with Wells Fargo,

            has determined that the Stores should be closed and the Store Assets should be immediately

            liquidated for the benefit of Debtor’s creditors. Debtor has also determined, after arms’

            length negotiations and reasonable due diligence, that the Consulting Agreement provides the

            best return to Debtor and its creditors from the liquidation of the Merchandise.

                   16.     The Debtor believes that the terms set forth in the Agreement are fair and

            equitable and present the best path forward with respect to winding down their operations.

            Additionally, as set forth more fully in the First Day Declaration, the Consulting

            Agreement’s material terms, including the fees paid to the Consultant, are consistent with

            standard terms for liquidation sales of this kind.

                   17.     Assuming the Consulting Agreement will allow Debtor and Consultant to

            continue to manage and complete the Store Closing Sales quickly and efficiently and avoid

            unnecessary administrative expenses, while maximizing creditors’ potential recovery.

                   18.     Consultant has overseen similar Store Closing Sales and is best positioned to

            maximize the value received from liquidating this number of Stores and volume of

            Merchandise. Given the complexity of the Store Closing Sales across Debtor’s 137 stores




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            located in 27 states, Consultant’s extensive expertise is all the more important, and brings

            significant strategic and managerial experience needed to maximize recoveries through the

            liquidation.

                   19.     Prohibiting Debtor from assuming the Consulting Agreement will only lead to

            unnecessary delay and expense to the detriment of Debtor’s creditors by postponing the Store

            Closing Sales—which will otherwise continue after the Petition Date—and diverting

            substantial time and effort from preparing and managing the sale process to seeking bids

            from other liquidators or gearing up to manage the Store Closing Sales internally.

            Ultimately, such disruption and delay would significantly increase the Debtor’s

            administrative expenses and overall losses, without any associated benefit to Debtor’s estate.

            Moreover, because the Store Closing Sales are scheduled to conclude on or before April 30,

            2017, it is unlikely that any new agents even could be found at this stage of the Store Closing

            Sales to undertake continuation thereof on an uninterrupted basis.         This would in all

            likelihood decrease the recovery to the Debtor’s estate from the Store Closing Sales.

                   20.     Debtor seeks, on an interim and final basis, an order confirming that the

            Consulting Agreement is operative and effective. Similar relief has been granted in other

            retail cases like this one. See e.g., In re Michigan Sporting Goods Distributors, Inc., Case

            No. 17-00612, Doc. No. 107 (Bankr. W.D. Mich. February 17, 2017) (interim order); In re

            The Wet Seal, LLC, Case No. 17-10229, Doc. No. 50 (Bankr. D. Del. February 3, 2017)

            (interim order); In re TSA WD Holdings, Inc., Case No. 16-10537, Doc. No. 156 (Bankr. D.

            Del. March 3, 2016) (interim order); In re TSA WD Holdings, Inc., Case No. 16-10537, Doc.

            No. 1700 (Bankr. D. Del. May 3, 2016) (final order); In re Quicksilver, Inc., Case No. 15-




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            11880, Doc. No. 253 (Bankr. D. Del. Oct. 7, 2015) (final order); In re Quicksilver, Inc., Case

            No. 15-11880, Doc. No. 72 (Bankr. D. Del. Sept. 10, 2015) (interim order); In re Radio

            Shack Corp., Case No. 15-10197, Doc. No. 455 (Bankr. D. Del. Feb. 20, 2015) (final order);

            In re Radio Shack Corp., No. 15-10197, Doc. No. 106 (Bankr. D. Del. Feb. 6, 2015) (interim

            order).

                      21.   Debtor submits that it has exercised reasonable business judgment in seeking

            to assume the Consulting Agreement and engaging the Consultant to continue with the Store

            Closing Sales post-petition, and that there is clear business justification to assume the

            Consulting Agreement.

            B.        Continuing the Store Closing Sales Pursuant to the Sales Guidelines is
                      Authorized Under Bankruptcy Code § 363(b).

                      22.   Debtor also requests authorization to continue with the Store Closing Sales

            under Bankruptcy Code § 363(b)(1), which permits a debtor to use, sell, or lease estate

            property “other than in the ordinary course of business” after notice and a hearing. Although

            section 363(b) does not specify a standard for determining when it is appropriate for a court

            to authorize the use, sale, or lease of property of the estate, courts have required that such

            use, sale, or lease be based upon the sound business judgment of the debtor. See, e.g., Myers

            v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (internal citation omitted); Comm.

            of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070–71 (2d Cir.

            1983); In re Abbotts Dairies, Inc., 788 F.2d 143, 147–48 (3d Cir. 1986) (implicitly adopting

            the “sound business judgment” test of Lionel Corp.); In re Del. & Hudson Ry. Co., 124 B.R.

            169, 175–76 (D. Del. 1991) (holding that the Third Circuit adopted the “sound business

            judgment” test in Abbotts Dairies); Dai-Icho Kangyo Bank v. Montgomery Ward Holding



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            Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (Bankr. D. Del. 1999)

            (same); Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986) “[A] bankruptcy

            court can authorize a sale of all a Chapter 11 debtor's assets under § 363(b)(1) when a sound

            business purpose dictates such action.”

                   23.    As set forth above, the demonstration of a valid business justification by the

            debtor leads to a strong presumption “that in making [the] business decision the directors of a

            corporation acted on an informed basis, in good faith and in the honest belief that the action

            taken was in the best interests of the company.” In re Integrated Res., 147 B.R. at 656.

            Accordingly, similar store closing or liquidation sales are routinely approved by courts in

            Chapter 11 cases involving retail debtors.

                   24.    As explained above and in the First Day Declaration, sound business reasons

            exist to proceed with the proposed Store Closing Sales. Debtor—in consultation with Wells

            Fargo and its constituents—engaged in an exhaustive analysis of its ongoing and future

            business prospects. Debtor made every effort to reach a workable out-of-court restructuring.

            In the end, these efforts did not result in a sustainable go-forward business plan. As a result,

            Debtor concluded that winding down the Debtor’s business by conducting the Store Closing

            Sales at the Stores is the best remaining alternative and that the Consulting Agreement and

            proposed Sale Guidelines are the best sale strategy to maximize the profits realized from the

            liquidation and stop the rapid deterioration of the Debtor’s business.

                   25.    Accordingly, Debtor has a compelling business justification for continuing the

            Store Closing Sales in accordance with the Consulting Agreement and Sale Guidelines.




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            C.     The Sale of the Store Assets Free and Clear of Liens, Claims and Encumbrances
                   is Authorized Under Bankruptcy Code § 363(f).

                   26.      Debtor requests approval to sell the Store Assets on a final “as is” basis, free

            and clear of liens, claims, interests and encumbrances in accordance with Bankruptcy Code §

            363. A debtor in possession may sell property under Bankruptcy Code § 363 “free and clear

            of any interest in such property of an entity other than the estate” if any one of the following

            conditions is satisfied:

                            i.     applicable non-bankruptcy law permits the sale of such property free
                                   and clear of such interest;

                            ii.    such entity consents;

                            iii.   such interest is a lien and the price at which such property is to be sold
                                   is greater than the aggregate value of all liens on such property;

                            iv.    such interest is a bona fide dispute; or

                            v.     such entity could be compelled, in a legal or equitable proceeding, to
                                   accept a money satisfaction of such interest.

            11 U.S.C. § 363(f).

                   27.      The Debtor submits that it is appropriate to sell the Store Closing Assets on a

            final “as is” basis, free and clear of any and all liens, claims, and encumbrances in

            accordance with section 363(f) of the Bankruptcy Code because one or more of the tests of

            section 363(f) are satisfied.     Specifically, but without limitation, Debtor has satisfied

            Bankruptcy Code § 363(f)(2) because Debtor’s pre-petition secured lender holds a first

            priority perfected security interest in the Store Assets and has consented to the sale of the

            Store Assets free and clear. Furthermore, the Debtor proposes that any such liens, claims,

            and encumbrances be transferred and attached to the proceeds of the Store Closing Sales that

            Debtor earns.



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                   28.    Accordingly, the Debtor proposes that section 363(f) of the Bankruptcy Code

            authorizes the transfer and conveyance of the Store Closing Assets free and clear of any

            liens, claims, and encumbrances. A number of courts have approved similar relief in other

            Chapter 11 cases. See, e.g., In re Michigan Sporting Goods Distributors, Inc., Case No. 17-

            00612, Doc. No. 107 (Bankr. W.D. Mich. February 17, 2017) (interim order) In re

            Quicksilver, Inc., Case No. 15-11880 (Bankr. D. Del. Oct. 7, 2015); In re RadioShack Corp.,

            Case No. 15-10197 (Bankr. D. Del. Feb. 20, 2015).

            D.     The Court Should Approve the Proposed Sale Guidelines.

                   29.    As set forth in greater detail below, many states have laws (the “Liquidation

            Laws”) that require special and cumbersome licenses, waiting periods, time limits, and other

            procedures for store closing and liquidation sales. Therefore, although the Debtor intends to

            comply fully with applicable state and local health and safety and consumer protection laws

            in connection with the Store Closing Sales, the Debtor seeks a waiver of compliance with the

            Liquidation Laws and instead requests the authority to conduct such sales in accordance with

            the Sale Guidelines.

                   30.    The Debtor and the Consultant developed the Sale Guidelines with the intent

            to provide a means of controlling the administrative burdens on their estates that are

            associated with complying with the Liquidation Laws, while at the same time protecting the

            interests of the landlords and the applicable governmental agencies enforcing such laws.

            Accordingly, the Debtor submits that the Sale Guidelines adequately address any concerns

            that the landlords or the governmental agencies may raise with respect to the Store Closing




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            Sales, and therefore, the requested relief below seeking the waiver of Liquidation Laws

            should be approved.

            E.     Exemption from Liquidation Laws is Warranted and Appropriate.

                   31.    Debtor recognizes that certain states and local laws, statutes, rules, regulations

            and ordinances that relate to liquidation sales may be applicable to the Stores where the Store

            Closing Sales will occur. For example, certain states have laws that require securing a

            permit to conduct store closing sales, with certain limitations and restrictions as to how and

            when such sales may take place, including inventory restrictions, waiting periods.

                   32.    To ensure the efficient and orderly liquidation of the Store Assets, however,

            Debtor requests that the Court authorize Debtor to conduct the Store Closing Sales without

            strictly complying with any applicable Liquidation Laws. The Court retains jurisdiction and

            oversight over the Store Closing Sales, with the proposed Sale Guidelines and Consulting

            Agreement governing its completion. The Store Closing Sales are necessary and appropriate

            to effectuate the orderly liquidation of the Store Assets for the benefit of Debtor’s estate and

            creditors, with creditors and the public adequately protected through the Court’s supervision

            over the liquidation process.

                   33.    Debtor notes that many Liquidation Laws provide that court-authorized

            liquidation sales are exempt from or otherwise preempt a particular state’s Liquidation Law.

            Even if no such express exemption exists, Debtor submits that to the extent a conflict exists

            between state/local law and federal bankruptcy law, the federal bankruptcy law preempts

            state/local law. See, e.g., Aloe v. Shenango Inc. (In re Shenango Group, Inc.), 186 B.R. 623,

            628 (Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and




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            legal obligations pursuant to the bankruptcy code . . . . [A] state statute cannot place burdens

            on them where the result would contradict the priorities established by the federal bankruptcy

            code); Baker & Drake, Inc. v. Pub. Serv. Comm’n of Nev. (In re Baker & Drake, Inc.), 35

            F.3d 1348, 1353-54 (9th Cir. 1994) (noting that while preemption is not always appropriate

            (e.g., when health and safety of the public is at stake), it is likely appropriate “where a state

            statute concerned with economic regulation” is at issue).

                   34.    Relief from strict application with Liquidation Laws has been approved by

            other courts in similar circumstances. See, e.g., In re The Wet Seal, LLC, Case No. 17-

            10229, Doc. No. 50 (Bankr. D. Del. February 3, 2017); In re Michigan Sporting Goods

            Distributors, Inc., Case No. 17-00612, Doc. No. 107 (Bankr. W.D. Mich February 17, 2017);

            In re Quicksilver, Inc., Case No. 15-11880, Doc. No. 253 (Bankr. D. Del. Oct. 7, 2015); In re

            RadioShack Corp., Case No. 15-10197, Doc. No. 455 (Bankr. D. Del. Feb. 20, 2015); In re

            Coldwater Creek Inc., Case No. 14-10867, Doc. No. 355 (Bankr. D. Del. May 7, 2014); In re

            Nantco, LLC, Case No. 13-10610, Doc. No. 124 (Bankr. D. Del. Apr. 12, 2013); In re

            Borders Grp., Inc., Case No. 11-10614, Doc. No. 1377 (Bankr. S.D.N.Y. July 21, 2011); In

            re Blockbuster Inc., Case No. 10-14997, Doc. No. 864 (Bankr. S.D.N.Y. Jan. 20, 2011); In re

            Anchor Blue Retail Grp., Case No. 09-11770, Doc. No. 182 (Bankr. D. Del. June 18, 2009).

                   35.    Therefore, to the extent that any Liquidation Laws potentially interfere with

            the Store Closing Sales, Debtor seeks authority to proceed with the Store Closing Sales

            without the necessity of, and the delay associated with, complying with them. Debtor further

            requests that no other person or entity, including (but not limited to) any governmental unit

            or lessor be allowed to take any action to prevent, interfere with, or otherwise hinder the




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            conduct of the Store Closing Sales, including the advertisement and promotion of the Store

            Closing Sales, as contemplated in the Consulting Agreement and in accordance with the Sale

            Guidelines.

                   36.    Notwithstanding such requests, the Debtor proposes to serve, within two (2)

            business days of the entry of the Interim Order and the Final Order, copies of such Orders

            and the Sale Guidelines attached thereto, by email, facsimile, or regular mail on (i) the

            Attorney General’s office for each state in which the Debtor operates a retail location, and

            (ii) the division of consumer protection for each state in which the Debtor operates a retail

            location, (collectively, the “Governmental Units”), and (iii) the applicable landlord for each

            Store (collectively, the “Landlords”).

            F.     Waiver of Contractual Restrictions in Leases Restricting the Store Closing Sales
                   is Authorized and Appropriate.

                   37.    Debtor recognizes that the Store Closing Sales and the Sale Guidelines may be

            inconsistent with certain contractual covenants contained in leases, agreements, licenses,

            recorded documents or other obligations applicable to certain Stores. Debtor requests that

            the Court excuse Debtor from complying with any such restrictions that may impair Debtor’s

            ability to conduct the Store Closing Sales in accordance with the Consulting Agreement and

            Sale Guidelines.

                   38.    Store closing or liquidation sales have unfortunately become a fairly common

            aspect of Chapter 11 cases involving retail debtors. Such sales are consistently approved by

            courts despite provisions in various contractual and recorded documents that seek and

            purport to prohibit or restrict such sales. See In re R.H. Macy & Co., 170 B.R. 69, 77 (Bankr.

            S.D.N.Y. 1994) (restrictive lease provision is unenforceable against debtor seeking to



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            conduct going-out-of-business sale “because it conflicts with the Debtor’s fiduciary duty to

            maximize estate assets”); In re Ames Dep’t Stores, Inc., 136 B.R. 357, 359 (Bankr. S.D.N.Y.

            1992) (“[T]o enforce the anti-[going out-of-business] sale clause of the Lease would

            contravene overriding federal policy requiring Debtor to maximize estate assets by imposing

            additional constraints never envisioned by Congress.”); In re Tobago Bay Trading Co., 112

            B.R. 463, 467 (Bankr. N.D. Ga. 1990) (clause in lease prohibiting going-out-of-business

            sales is unenforceable); In re Lisbon Shops, Inc., 24 B.R. 693, 695 (Bankr. E.D. Mo. 1982)

            (holding restrictive lease provision unenforceable in chapter 11 case where debtor sought to

            conduct a liquidation sale).

                   39.    Here, for the reasons discussed in this Motion, the First Day Declaration,

            Debtor respectfully submits that the Store Closing Sales are essential and critical to Debtor’s

            liquidation strategy.     Therefore, Debtor should be excused from complying with any

            contractual provision that would prohibit, restrict, or otherwise interfere with the Store

            Closing Sales. Bankruptcy courts have routinely granted similar relief in other bankruptcy

            cases involving retail debtors, holding that restrictive provisions in various documents are

            impermissible restraints on a debtor’s ability to maximize the value of its assets under section

            363 of the Bankruptcy Code. See, e.g., In re The Wet Seal, LLC, Case No. 17-10229, Doc.

            No. 50 (Bankr. D. Del. February 3, 2017); In re Michigan Sporting Goods Distributors, Inc.,

            Case No. 17-00612, Doc. No. 107 (Bankr. W.D. Mich February 17, 2017); In re Quicksilver,

            Inc., Case No. 15-11880, Doc. No. 253 (Bankr. D. Del. Oct. 7, 2015); In re RadioShack

            Corp., Case No. 15-10197, Doc. No. 455 (Bankr. D. Del. Feb. 20, 2015); In re Coldwater

            Creek Inc., Case No. 14-10867, Doc. No. 355 (Bankr. D. Del. May 7, 2014); In re Namco,




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            LLC, Case No. 13-10610, Doc. No. 124 (Bankr. D. Del. Apr. 12, 2013); In re Borders Grp.,

            Inc., Case No. 11-10614, Doc. No. 1377 (Bankr. S.D.N.Y. July 21, 2011); In re Blockbuster

            Inc., Case No. 10-14997, Doc. No. 864 (Bankr. S.D.N.Y. Jan. 20, 2011).

                   40.      Accordingly, Debtor respectfully requests the Court waive the applicability or

            deem unenforceable any contractual restrictions with respect to any Store Closing Stores that

            could otherwise impede Debtor from conducting the Store Closing Sales.

            G.     Abandonment of Certain Property in Connection with the Store Closing Sales
                   and in Accordance with the Sale Guidelines is Warranted Under Section 554 of
                   the Bankruptcy Code.

                   41.      Section 554 of the Bankruptcy Code provides that after notice and a hearing, a

            debtor “may abandon any property of the estate that is burdensome to the estate or that is of

            inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a); see also Bittel v. Yamato

            Int'l Corp., 70 F.3d 1271 (6th Cir. 1995) (“[T]he trustee may abandon “any property of the

            estate that is burdensome ... or that is of inconsequential value.” See, e.g., In re K.C. Mach. &

            Tool Co., 816 F.2d 238, 246 (6th Cir. 1987) (“[I]n its discretion, the trustee may abandon

            property to the debtor where administration thereof would not benefit the estate-the

            creditors.”).

                   42.      Debtor will make every reasonable effort to sell all Store Assets at the Store

            Closing Sales as quickly and efficiently as possible for the benefit of its estate and creditors.

            However, Debtor may determine that the costs associated with the continued sale efforts as

            to certain Store Assets is likely to exceed the projected proceeds that could be realized from

            their continued marketing and sale.




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                   43.    In cases where selling the last remaining Store Assets (the “Remaining

            Assets”) will impose a financial burden on Debtor’s estate, Debtor requests authority to

            abandon the Remaining Asset once the applicable Store Closing Sale has concluded, without

            liability to any person or entity. Before abandoning any Remaining Asset, Debtor will

            determine in the exercise of Debtor’s business judgment, that such Remaining Asset to be

            abandoned by the Debtor is either (a) burdensome to the estate because removal and storage

            costs for the Remaining Asset are likely to exceed any net proceeds or (b) of inconsequential

            value and benefit to the estate. Prior to abandoning any such Remaining Asset, Debtor will

            use all commercially reasonable efforts to remove, or cause to be removed, any confidential

            or personal identifying information in any of the Remaining Asset. Debtor requests that the

            Court’s Order provide that the presence of any Remaining Assets on the leased premises

            does not preclude the Debtor from claiming it has vacated the leased premises and rejected

            the subject lease and, as a result, the landlord is not entitled to a continuing administrative

            expense claim.

                   44.    Similar relief for other retail debtors has been approved under similar

            circumstances in recent bankruptcy cases. See, e.g., In re The Wet Seal, LLC, Case No. 17-

            10229, Doc. No. 50 (Bankr. D. Del. February 3, 2017); In re Michigan Sporting Goods

            Distributors, Inc., Case No. 17-00612, Doc. No. 107 (Bankr. W.D. Mich February 17, 2017);

            In re Coldwater Creek Inc., Case No. 14-10867, Doc. No. 355 (Bankr. D. Del. Dec. 2, 2015);

            In re Quicksilver, Inc., Case No. 15-11880, Doc. No. 253 (Bankr. D. Del. Oct. 7, 2015).




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            H.     Appointment of a Consumer Privacy Ombudsman is Not Required by Sections
                   332 and 363(b)(1) of the Bankruptcy Code.

                   45.    Section 363(b)(1) of the Bankruptcy Code provides that a debtor may not sell

            or lease personally identifiable information unless such sale or lease is consistent with its

            policies or upon appointment of a consumer privacy ombudsman (a “CPO”) under

            Bankruptcy Code § 332. Bankruptcy Code § 332 requires the appointment of a CPO no less

            than seven days in advance of a hearing on a sale under section 363(b)(1) so the CPO can

            assist the Court in its consideration of a “proposed sale or lease of personally identifiable

            information under section 363(b).”

                   46.    Debtor does not intend to sell any personally identifiable information in the

            course of the Store Closing Sales, and intends to remove any such information from any

            Store Asset that is sold or Remaining Asset before abandoning it.

                   47.    Accordingly, the Debtor submits that the appointment of a CPO is not

            necessary in connection with the Store Closing Sales.

                               SATISFACTION OF BANKRUPTCY RULE 6003

                   48.    Pursuant to Bankruptcy Rule 6003(b), any motion seeking to use property of

            the estate pursuant to section 363 of the Bankruptcy Code within twenty-one days of the

            Petition Date requires the Debtor to demonstrate that such relief “is necessary to avoid

            immediate and irreparable harm.” There is no question that the Debtor’s failure to continue

            to conduct the Store Closing Sales without interruption would result in immediate and

            irreparable harm to the Debtor’s estate by causing unnecessary delay and expense that would

            in turn disrupt the Debtor’s liquidation efforts and decrease the recovery to the Debtors’

            estate from the Store Closing Sales.



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                   49.     For the reasons set forth herein, the Debtor respectfully submits that

            Bankruptcy Rule 6003(b) has been satisfied and the relief requested herein is necessary to

            avoid immediate and irreparable harm to the Debtor and the estate.

                          WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(H)

                   50.     Debtor also requests that the Court waive the stay imposed by Bankruptcy

            Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property

            other than cash collateral is stayed until the expiration of 14 days after entry of the order,

            unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The relief that Debtor seeks in

            this Motion is only effective if it is granted with immediate effect to allow Debtor to continue

            to operate its business without interruption and preserve the value for the bankruptcy estate.

            Accordingly, Debtor respectfully requests that the Court waive the fourteen-day stay

            imposed by Bankruptcy Rule 6004(h), as nature of the relief sought herein justifies

            immediate relief.

                                            RESERVATION OF RIGHTS

                   51.     Nothing in the Proposed Order or this Motion (i) is intended or shall be

            deemed to constitute an assumption of any agreement pursuant to section 365 of the

            Bankruptcy Code or an admission as to the validity of any claim against Debtor and its

            estate, (ii) shall impair, prejudice, waive, or otherwise affect the rights of Debtor and its

            estate with respect to the validity, priority, or amount of any claim against Debtor and their

            estates, or (iii) shall be construed as a promise to pay a claim.




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                                                        NOTICE

                   52.    Notice of this Motion has been given to: (i) the U.S. Trustee for the District of

            North Dakota; (ii) counsel to Wells Fargo, N.A.; (ii) holders of the twenty (20) largest

            unsecured claims on a consolidated basis against the Debtor; (iii) the Landlords; (iv) the

            Governmental Units; (v) counsel to any committee appointed in this case; and (vi) all parties

            who have filed a notice of appearance and request for service of papers pursuant to

            Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the relief requested,

            no other or further notice need be given.

                                                   CONCLUSION

                   53.    For the reasons set forth above, Debtor respectfully requests that the Court

            enter an Interim Order in the form attached as Exhibit A, granting the relief requested in this

            Motion and such other and further relief as may be just and proper under the circumstances.

                   Dated this 1st day of March, 2017.

                                                         VOGEL LAW FIRM


                                                   BY: /s/ Jon R. Brakke
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                                                       PROPOSED COUNSEL TO DEBTOR IN
                                                       POSSESSION




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                                            EXHIBIT A

                                      (Proposed Interim Order)




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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                  Debtor.


               INTERIM ORDERS: (I) AUTHORIZING THE DEBTOR TO ASSUME THE
              CONSULTING AGREEMENT, (II) AUTHORIZING AND APPROVING THE
            CONDUCT OF STORE CLOSING SALES, WITH SUCH SALES TO BE FREE AND
            CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES, AND (III) GRANTING
                                     RELATED RELIEF


                     Upon the Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor to

            Assume the Consulting Agreement with Tiger Capital Group, LLC, (II) Authorizing and

            Approving Store Closing Sales Free and Clear of All Liens, Claim, and Encumbrances, and

            (III) Granting Related Relief (the “Motion”);1 and this Court having found that it has

            jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b); and this Court having

            found that venue of these cases and the Motion in this District is proper pursuant to 28

            U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a core proceeding

            pursuant to 28 U.S.C. § 157(b); and this Court having found that due and sufficient notice of

            the Motion has been given under the particular circumstances and that no other or further

            notice of the Motion need be given; and this Court having determined that it may enter a

            final order consistent with Article III Constitution; and upon consideration of the First Day

            Declaration; and a hearing having been held to consider the relief requested in the Motion;

                     1
                     All capitalized terms used and not defined herein shall have the meanings ascribed
            to them in the Motion.




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            and upon the record of the hearing and all of the proceedings had before this Court; and this

            Court having found and determined that the relief sought in the Motion is in the best interest

            of the Debtors, their estates and creditors, and all other parties in interest; and that the legal

            and factual bases set forth in the Motion establish just cause for the relief granted herein; and

            after due deliberation and sufficient cause appearing therefor,

                   IT IS FOUND CONCLUDED AND DETERMINED THAT:2

                   A.      The Debtor has advanced sound business reasons for entering into the

            Consulting Agreement, a copy of which is attached hereto as Exhibit 1, on an interim basis

            as set forth in the Motion and at the hearing, and entering into the Consulting Agreement is a

            reasonable exercise of the Debtor’s business judgment and is in the best interest of the

            Debtor and its estate.

                   B.      Based on the representations of counsel to the Debtor, the First Day

            Declaration, testimony at the hearing, and subject to entry of a final order: (i) the Debtor and

            its officers, directors, employees, agents and representatives, and the Consultant and its

            members, officers, directors, employees, agents and representatives acted in good faith; (ii)

            the Consulting Agreement was negotiated, proposed, and entered into by the Consultant and

            the Debtor without collusion or fraud, and in good faith and from arm’s length bargaining

            positions; and (iii) the Consultant’s prospective performance and payment of amounts owing

            under the Consulting Agreement are in good faith and for valid business purposes and uses.

                   2
                    The findings and conclusions set forth herein constitute this Court’s findings of fact
            and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this
            proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of
            fact constitute conclusions of law, they are adopted as such. To the extent any of the
            following conclusions of law constitute findings of fact, they are adopted as such.



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                   C.      The Sale Guidelines, as described in the Motion and attached as Exhibit 2

            hereto, are reasonable and will maximize the returns on the Store Assets for the benefit of the

            Debtor’s estate and creditors.

                   D.      The Store Closing Sales, in accordance with the Sale Guidelines and with the

            assistance of the Consultant, will provide an efficient means for the Debtor to liquidate and

            dispose of the Store Assets as quickly and effectively as possible, and are in the best interests

            of the Debtor’s estate.

                   E.      The dispute resolution procedures set forth in this Interim Order are fair and

            reasonable, and comply with applicable law.

                   F.      The Debtor has represented that, pursuant to the Motion, it is not seeking to

            either sell or lease personally identifiable information during the course of the Store Closing

            Sales at the Stores; provided, however, that the Consultant will be authorized to distribute

            emails and promotional materials to the Debtor’s customers consistent with the Debtor’s

            existing policies on the use of consumer information.

                   G.      The relief set forth herein is necessary to avoid immediate and irreparable

            harm to the Debtor and its estate, and the Debtor has demonstrated good, sufficient, and

            sound business purposes and justifications for the relief approved herein.

                   H.      The entry of this Interim Order is in the best interest of the Debtor, its estate

            and creditors, and all other parties in interest herein.

                           IT IS HEREBY ORDERED THAT:

                   1.      The Motion is GRANTED on an interim basis, as set forth herein.




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                     2.      A final hearing (the “Final Hearing”) will be held before this Court on

            ____________________, 2017, at ___________ (CST) to consider the relief requested in the

            Motion on a final basis. All objections, if any, to the Motion shall be in writing and filed

            with this Court and served on (i) counsel to the Debtor, Vogel Law Firm, (ATTN: Jon

            Brakke and Caren Stanley), 218 NP Ave., Fargo, ND 58102, cstanley@vogellaw.com (ii)

            counsel to the Consultant, Cohen, Tauber, Spievack & Wagner P.C., (ATTN: Robert A.

            Boghosian),       420    Lexington   Ave,    Suite   2400,    New      York,    NY     10170,

            rboghosian@ctswlaw.com (iii) counsel to Wells Fargo, NA, Riemer & Braunstein LLP,

            (ATTN:        Donald Rothman and Alexander Rheaume), Three Center Plaza, Boston, MA

            02108, drothman@riemerlaw.com; (iv) counsel to any statutory committee (collectively, the

            “Notice Parties”), as to be received on or before ___________________, 2017, at 4:00 p.m.

            (CST).

                     3.      The Debtor is authorized and empowered to take all actions necessary to

            implement the relief granted in this Interim Order. The failure to specifically include any

            particular provision of the Consulting Agreement in this Interim Order shall not diminish or

            impair the effectiveness of such provisions, it being the intent of this Court that the

            Consulting Agreement and all of its provisions, payments, and transactions, be and hereby

            are authorized and approved as and to the extent provided for in this Interim Order.

                     4.      To the extent there is any conflict between this Interim Order, the Sale

            Guidelines, and the Consulting Agreement, the terms of this Interim Order shall control over

            all other documents, and the Sale Guidelines shall control over the Consulting Agreement.




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            A.     Effectiveness of the Consulting Agreement.

                   5.     Subject to the entry of a final order, Consultant is retained by the Debtor on an

            interim basis pursuant to sections 327 and 328 of the Bankruptcy Code. The payment of all

            fees and reimbursement of expenses under the Consulting Agreement to Consultant,

            including payment of the Retainer to cover Expenses of the Sale, is approved on an interim

            basis under section 328(a) of the Bankruptcy Code without further order of the Bankruptcy

            Court and shall be free and clear of all liens, claims and encumbrances. All such payments

            of fees and reimbursement of expenses shall be made on a weekly basis in accordance with

            the terms of the Consulting Agreement without further order of the Court. The Consulting

            Agreement is operative and effective on an interim basis. The Debtor is authorized to act

            and perform in accordance with the terms of the Consulting Agreement, including, but not

            limited to, making payments required by the Consulting Agreement to the Consultant

            without the need for any application of the Consultant or a further order of this Court. The

            Consultant is not required to maintain time records or file interim or final fee applications.

                   6.     With respect to costs and expenses incurred by the Consultant pursuant to and

            in accordance with the Consulting Agreement and fees due to the Consultant on account of

            services provided from the date of the Consulting Agreement through the date of entry of this

            Interim Order, the Consultant shall be entitled to and shall receive reimbursement of such

            costs and expenses incurred and fees earned pursuant to and in accordance with the

            Consulting Agreement immediately upon entry of this Interim Order.

                   7.     No later than five (5) days prior to the Final Hearing, the Consultant shall file

            a declaration of disinterestedness.




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                   8.       Subject to the restrictions set forth in this Interim Order and the Sale

            Guidelines, the Debtor and the Consultant are authorized to take any and all actions as maybe

            necessary or desirable to implement the Consulting Agreement and the Store Closing Sales.

            The Debtor, the Consultant, and each of their respective officers, employees, and agents are

            hereby authorized to execute such documents and to do such acts as are necessary or

            desirable to carry out the Store Closing Sales and effectuate the Consulting Agreement and

            each of the transactions and related actions contemplated or set forth therein.

                   9.       This Interim Order shall be binding upon and shall govern the acts of all

            entities, including, without limitation, all filing agents, filing officers, title agents, title

            companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

            agencies, governmental departments, secretaries of state, federal, state and local officials, and

            all other persons and entities who may be required by operation of law, the duties of their

            office, or contract, to accept, file, register or otherwise record or release any documents or

            instruments, or who may be required to report or insure any title or state of title in or to the

            Store Assets.

                   10.      Subject to the entry of a final order, this Interim Order and the terms and

            provisions of the Consulting Agreement shall be binding on all of the Debtor’s creditors

            (whether known or unknown), the Debtor, the Consultant, and their respective affiliates,

            successors and assigns, and any affected third parties including, but not limited to, all

            persons asserting an interest in the Store Assets, notwithstanding any subsequent

            appointment of any trustee, party, entity or other fiduciary under any section of the

            Bankruptcy Code with respect to the forgoing parties, and as to such trustee, party, entity or




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            other fiduciary, such terms and provisions likewise shall be binding. Subject to the entry of a

            final order, the provisions of this Interim Order and the terms and provisions of the

            Consulting Agreement, and any actions taken pursuant hereto or thereto shall survive the

            entry of any order which may be entered confirming or consummating any plan of the Debtor

            or converting the Debtor’s case from Chapter 11 to Chapter 7, and the terms and provisions

            of the Consulting Agreement, as well as the rights and interests granted pursuant to this

            Interim Order and the Consulting Agreement, shall continue in these or any superseding case

            and shall be binding upon the Debtor, the Consultant and their respective successors and

            permitted assigns, including any trustee or other fiduciary hereafter appointed as a legal

            representative of the Debtor under Chapter 7 or Chapter 11 of the Bankruptcy Code. Subject

            to entry of a final order, any trustee appointed in the Debtor’s cases shall be and hereby is

            authorized to operate the business of the Debtor to the fullest extent necessary to permit

            compliance with the terms of this Interim Order and the Consulting Agreement, and the

            Consultant and the trustee shall be and hereby are authorized to perform under the

            Consulting Agreement upon the appointment of the trustee without the need for further order

            of this Court.

            B.     Authority to Engage in the Store Closing Sales.

                   11.       The Debtor is authorized, pursuant to sections 105(a) and 363(b)(1) of the

            Bankruptcy Code, to conduct the Store Closing Sales in accordance with this Interim Order,

            the Sale Guidelines, and the Consulting Agreement.

                   12.       The Sale Guidelines are approved in their entirety.




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                   13.     All entities that are presently in possession of some or all of the Store Assets

            in which the Debtor holds an interest that are or may be subject to the Consulting Agreement

            or this Interim Order hereby are directed to surrender possession of such Store Assets to the

            Debtor or the Consultant.

                   14.     Except as provided herein, neither the Debtor nor the Consultant nor any of

            their officers, employees, or agents shall be required to obtain the approval of any third party,

            including (without limitation) any governmental unit of any kind (a “Governmental Unit”)

            or any landlord with respect to any of the Stores (a “Landlord”), to conduct the Store

            Closing Sales and any related activities in accordance with the Sale Guidelines.

                   15.     No Landlord, licensor, property owner, and/or property manager shall prohibit,

            restrict, or otherwise interfere with any of the Store Closing Sales.

                   16.     The Debtor is authorized to discontinue operations at the Stores in accordance

            with this Interim Order and the Sale Guidelines.

            C.     Conducting the Store Closing Sales.

                   17.     All newspapers and other advertising media in which the Store Closing Sales

            may be advertised and all Landlords are directed to accept this Interim Order as binding

            authority so as to authorize the Debtor and the Consultant to conduct the Store Closing Sales

            and the sale of Store Assets pursuant to the Consulting Agreement and the Sale Guidelines,

            including, without limitation, to conduct and advertise the sale of the Store Assets and the

            Additional Merchandise in the manner contemplated by and in accordance with this Interim

            Order, the Sale Guidelines, and the Consulting Agreement.




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                   18.    Nothing in this Interim Order or the Consulting Agreement releases the Debtor

            or the Consultant from complying with laws and regulations of general applicability,

            including, without limitation, public health and safety, criminal, tax, labor, employment,

            environmental, antitrust, fair competition, traffic and consumer protection laws, including

            consumer laws regulating deceptive practices and false advertising (collectively, “General

            Laws”).

                   19.    The Debtor and the Consultant are hereby authorized to take such actions as

            may be necessary and appropriate to implement the Consulting Agreement and to conduct

            the Store Closing Sales without the need for a further order of this Court, including, but not

            limited to, advertising the sale as a “going out of business”, “total liquidation”, “store

            closing”, “sale on everything”, “everything must go” or similar sale in accordance with the

            Sale Guidelines (including, without limitation, the posting of signs, the use of exterior

            banners at non-enclosed mall Stores and at enclosed mall Stores to the extent the applicable

            entrance does not require entry into the enclosed mall common area, the use of sign-walkers

            and street signage), notwithstanding any applicable non-bankruptcy laws that restrict such

            sales and activities, and notwithstanding any provision in any lease, sublease, license, or

            other agreement related to occupancy, “going dark,” or abandonment of assets (subject to the

            entry of a Final Order), or other provisions that purport to prohibit, restrict, or otherwise

            interfere with the Store Closing Sales.

                   20.    Notwithstanding anything herein to the contrary, and in view of the

            importance of the use of sign-walkers, banners, and other advertising to the sale of the Store

            Assets and Additional Merchandise, to the extent that disputes arise during the course of the




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            Store Closing Sales regarding laws regulating the use of sign-walkers, banners, or other

            advertising, and the Debtors and the Consultant are unable to resolve the matter consensually

            with a governmental unit, any party may request an immediate hearing with this Court

            pursuant to these provisions.

                      21.   No person or entity, including, but not limited to, any Landlord, service

            providers, utility provider, and creditor, shall take any action to directly or indirectly prevent,

            interfere with, or otherwise hinder the Store Closing Sales or the sale of Store Assets and the

            Additional Merchandise, or the advertising and promotion of the Store Closing Sales.

                      22.   In accordance with and subject to the terms and conditions of the Consulting

            Agreement, the Consultant shall have the right to use the Stores and all related Store

            services, furniture, fixtures, equipment, and other assets of the Debtors for the purpose of

            conducting the store Closing Sales, free of any interference from any entity or person, subject

            to compliance with the Sale Guidelines and this Interim Order.

                      23.   The Consultant shall (i) honor gift cards and coupons that were issued by or on

            behalf the Debtor prior to the Petition Date and (ii) for the first 10 days after the Petition

            Date, accept a return or exchange of Merchandise sold by the Debtor prior to the Petition

            Date, provided that such return or exchange is otherwise in compliance with the Debtor’s

            applicable policies and procedures that were in place at the time the Merchandise was

            purchased.

                      24.   All sales of all Store Assets shall be “as is” and final. Conspicuous signs

            stating that “all sales are final” and “as is” will be posted at the cash register areas at all

            Stores.




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                   25.    The Consultant shall not be liable for sales taxes except as expressly provided

            in the Consulting Agreement. The Debtor remains responsible for the payment of any and all

            sales taxes. The Debtor is directed to remit all taxes accruing from the store Closing Sales to

            the applicable Governmental Units as and when due, provided that in the case of a bona fide

            dispute, the Debtor is only directed to pay such taxes upon the resolution of the dispute, if

            and to the extent that the dispute is decided in favor of the applicable Governmental Unit.

            For the avoidance of doubt, sales taxes collected and held in trust by the Debtor shall not be

            used to pay any creditor or any other party, other than the applicable Governmental Unit for

            which the sales taxes are collected.

                   26.    Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf

            of the Debtor, is authorized to sell all Store Assets pursuant to the Consulting Agreement and

            in accordance with the Sale Guidelines. All sales of Store Assets, whether by the Consultant

            or the Debtor, shall be free and clear of any and all liens, claims, and encumbrances;

            provided, however, that any liens, claims, and encumbrances shall attach to the proceeds of

            the sale of the applicable Store Assets with the same validity and priority and to the same

            extent and amount that any such liens, claims, and encumbrances had with respect to such

            Store Assets, subject to any claims and defenses that the Debtor may possess with respect

            thereto.   Further, to the extent any of the Debtor’s obligations to Wells Fargo remain

            outstanding, all proceeds from the Sale net of the amounts to be deposited into the

            Segregated Account (as defined in the Consulting Agreement), shall be segregated and paid

            to Wells Fargo in accordance with the Stipulation Concerning Interim Use of Cash Collateral




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            and Adequate Protection entered into between the Debtor and Wells Fargo, as approved by

            the Court.

                   27.     To the extent that the Debtor proposes to sell or abandon Store Assets that may

            contain any personal and/or confidential information about the Debtor’s employees and/or

            customers (the “Confidential Information”), the Debtor shall remove all such the

            Confidential Information from such Store Assets before they are sold or abandoned.

                   28.     The Debtor and the Consultant are authorized and empowered to transfer Store

            Assets among the Stores and the DCs (as defined in the Consulting Agreement). The

            Consultant is authorized to sell or abandon the Store Assets in accordance with the terms of

            the Consulting Agreement and the Sale Guidelines; provided, however, to the extent any of

            the Store Assets remain at a Store on the effective date of rejection for the underlying lease,

            such Store Assets shall be deemed abandoned to the affected Landlord at the time of any

            rejection of the lease with the right of the Landlord to dispose of such property free and clear

            of all interests and without notice or liability to any person or entity.

                   29.     In accordance with Section 6(iii) of the Consulting Agreement, the Consultant

            is authorized to supplement the Merchandise in the Stores with Additional Merchandise.

            Sales of Additional Merchandise shall be run through the Debtor’s cash register systems;

            provided, however, that the Consultant shall mark the Additional Merchandise using either a

            “dummy” SKU or department number, or in such other manner so as to distinguish the sale

            of Additional Merchandise from the sale of Merchandise. The Consultant shall provide

            signage in the Stores notifying customers that the Additional Merchandise have been

            included in the Sale.




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                   30.    The transactions under the Agreement relating to the Additional Merchandise

            are, and shall be construed as, a true consignment from the Consultant to the Debtor in all

            respects and not a consignment for security purposes. At all times and for all purposes, the

            Additional Merchandise and their proceeds shall be the exclusive property of the Consultant,

            and no other person or entity (including, without limitation, the Debtor, or any third person

            claiming a security interest in the Debtor’s property, including the Debtor’s secured lender),

            shall have any claim against any of the Additional Merchandise or the identifiable proceeds

            thereof. Subject solely to Consultant’s obligations to pay the Merchant the Additional

            Merchandise Fee and the security interest of the Lenders in such Additional Merchandise

            Fee, the Additional Merchandise and the identifiable proceeds thereof are not property of the

            Merchant (or the Merchant’s estate) and do not constitute property of the Merchant’s (or the

            Merchant’s estate) subject to any Lender’s lien. The Additional Merchandise shall at all

            times remain subject to the exclusive control of the Consultant, and the Consultant shall

            insure the Additional Merchandise and, if required, promptly file any proofs of loss with

            regard thereto.   Consultant is hereby granted a valid, binding and enforceable security

            interest in the Additional Merchandise and the proceeds thereof (with respect to the

            Additional Merchandise and the identifiable proceeds thereof, senior to all other liens on

            such collateral, including, without limitation, any liens in favor of the Debtor’s secured

            lender), which security interest shall be deemed perfected pursuant to this Interim Order

            without the requirement of filing UCC financing statements or providing notifications to any

            prior secured parties (provided that Consultant is hereby authorized to deliver any notices

            and file any financing statements and amendments thereof under the applicable UCC




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            identifying Consultant’s interest in the Additional Merchandise (and any proceeds from the

            sale thereof) as consigned goods thereunder and the Debtor as the consignee therefor, and

            Agent’s security interest in such Additional Merchandise and the proceeds thereof). In the

            event of a breach by the Debtor hereunder or under the Consulting Agreement, in any

            jurisdiction where the enforcement of its rights hereunder is sought, the Consultant shall

            have, in addition to all other rights and remedies, the rights and remedies of a secured party

            under the UCC.

                   31.     The Consultant and the respective Landlord of each Store are authorized to

            enter into a side letter agreement (a “Side Letter Agreement”) to govern the conduct of the

            Closing Sales at the applicable Store and such Side Letter Agreements shall control over the

            Sale Guidelines and this Interim Order.

            D.     Resolution Procedures for Disputes Regarding Liquidation Laws.

                   32.     To the extent that the Store Closing Sales at the Stores are conducted in

            accordance with this Interim Order and the Sale Guidelines, and are therefore conducted

            under the supervision of this Court, such Closing Sales are authorized notwithstanding any

            federal, state, or local statute, ordinance, rule, or licensing requirement directed at regulating

            “going out of business”, “total liquidation”, “store closing”, “sale on everything”,

            “everything must go” or similar sale, or bulk sale laws, including laws restricting safe,

            professional and non-deceptive, customary advertising such as signs, banners, posting of

            signage, and use of sign-walkers in connection with the sale and including ordinances

            establishing license or permit requirements, waiting periods, time limits or bulk sale

            restrictions (collectively, the “Liquidation Laws”). The Debtor shall be presumed to be in




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            compliance with all Liquidation Laws and are authorized on an interim basis to conduct the

            Closing Sales in accordance with the terms of this Interim Order and the Sale Guidelines

            without the necessity of showing compliance with any of the Liquidation Laws.

                   33.    To the extent that any Governmental Unit asserts a dispute related to the any

            Liquidation Law, such Governmental Unit may assert a dispute (a “Liquidation Dispute”)

            by serving written notice (a “Dispute Notice”) of such Liquidation Dispute on the Notice

            Parties and the affected Landlord. If the Debtor, the Consultant, the affected Landlord, and

            the Governmental Unit are unable to resolve the Liquidation Dispute within 14 days of

            service of the Dispute Notice, such Governmental Unit may file a motion with this Court

            requesting consideration and resolution of the Liquidation Dispute (a “Dispute Resolution

            Motion”), which shall be heard as scheduled by the Court in this Chapter 11 case. The filing

            of a Dispute Resolution Motion shall not be deemed to affect the finality of this Interim

            Order or to limit or interfere with the Debtor’s or the Consultant’s ability to conduct or to

            continue to conduct the Store Closing Sales pursuant to this Interim Order and in accordance

            with the Sale Guidelines, absent further order of this Court.

                   34.    Within two (2) business days of the entry of this Interim Order, the Debtor

            shall serve copies of this Interim Order, which includes the Consulting Agreement and the

            Sale Guidelines, by email, facsimile, or regular mail on the Office of the United States

            Trustee for the District of North Dakota, (ii) the state attorney general in each state in which

            the Debtor operates a Store, (iii) the division of consumer protection for each state in which

            the Debtor operates a retail location; (iv) all applicable federal, state, and local taxing




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            authorities having jurisdiction over any Store or any of the Store Assets, including, without

            limitation, the Internal Revenue Service, and (v) each Landlord.

                   35.    The Consultant shall have a valid, duly perfected first priority, senior security

            interests in and liens upon the Segregated Account (as defined in the Consulting Agreement)

            and all funds on deposit therein to secure the full payment and performance of all obligations

            of the Debtor to the Consultant in respect of the Merchandise Fee (as defined in the

            Consulting Agreement), the FF&E Fee (as defined in the Consulting Agreement), any

            proceeds from the sale of Additional Merchandise owed to Consultant and all of the Debtor’s

            other payment obligations to the Consultant under the Consulting Agreement. Such security

            interest and lien created under the Consulting Agreement is (i) validly created, (ii) effective

            upon immediately upon execution of the Consulting Agreement, (iii) senior to all other liens

            on such collateral, including, without limitation, any liens in favor of the Debtor’s secured

            lender, provided, however, the security interest granted to Consultant in accordance with

            Section 6(vi) of the Consulting Agreement shall be junior and subordinate in all respects to

            the security interests of Wells Fargo in the funds deposited in the Segregated Account to the

            extent and amount of any unperformed obligations by Consultant owing to the Debtor under

            the Consulting Agreement and hereunder. Such security interest and lien is hereby deemed

            properly perfected without the necessity of filing UCC financing statements or any other

            documentation (provided that Consultant is hereby authorized to deliver any notices and file

            any financing statements and amendments thereof under the applicable UCC identifying

            Consultant’s security interest in such collateral). In the event of a breach by the Debtor

            hereunder or under the Consulting Agreement, in any jurisdiction where the enforcement of




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            its rights hereunder is sought, the Consultant shall have, in addition to all other rights and

            remedies, the rights and remedies of a secured party under the UCC.

                   36.    Nothing in this Interim Order shall be deemed to constitute a postpetition

            assumption of any agreement under section 365 of the Bankruptcy Code.

                   37.    Non-material modifications, amendments, or supplementations to the

            Consulting Agreement and related documents by the parties may be made in accordance with

            the terms thereof without further order of this Court.

                   38.    The Consultant shall not be liable for any claims against the Debtor, and the

            Debtor shall not be liable for any claims against the Consultant, in each case, other than as

            expressly provided for in the Consulting Agreement. The Consultant shall have no successor

            liability whatsoever with respect to any liens, claims or encumbrances of any nature that may

            exist against the Debtor.

                   39.    Subject to the entry of a final order, nothing contained in any plan confirmed

            in the Debtor’s case or any order of this Court confirming such plan or in any other order in

            the Debtor’s case (including any order entered after any conversion of the Debtor’s case to a

            case under Chapter 7 of the Bankruptcy Code), shall alter, conflict with, or derogate from,

            the provisions of the Consulting Agreement or the terms of this Interim Order.

                   40.    The Consultant is a party in interest and shall have the ability to appear and be

            heard on all issues related to or otherwise connected to this Interim Order, the various

            procedures contemplated herein, any issues related to or otherwise connected to the Store

            Closing Sales and the Consulting Agreement.




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                   41.     This Court shall retain exclusive jurisdiction with regard to all issues or

            disputes arising from or relating to the implementation, interpretation, or enforcement of this

            Interim Order or the Consulting Agreement, including, but not limited to, any claim or issue

            relating to any efforts by any party or person to prohibit, restrict or in any way limit the Store

            Closing Sales in accordance with the Sale Guidelines, or any other disputes related to the

            Store Closing Sales. No parties or person shall take any action against the Debtor or the

            Consultant until this Court has resolved such dispute. This Court shall hear the request of

            such parties or persons with respect to any such disputes on an expedited basis, as may be

            appropriate under the circumstances.

                   42.     The Debtor is authorized to issue postpetition checks, or to effect postpetition

            fund transfer requests, in replacement of any checks or fund transfer requests in respect of

            payments made in accordance with this Interim Order that are dishonored or rejected.

                   43.     Each of the Debtor’s banks and financial intuitions is authorized to honor

            checks presented for payment and all fund transfer requests made by the Debtor, to the extent

            that sufficient funds are on deposit in the applicable accounts, in accordance with this Interim

            Order and any other order of this Court.

                   44.     Notwithstanding the relief granted herein and any actions taken hereunder,

            nothing contained herein shall create, nor is intended to create, any rights in favor of, or

            enhance the status of any claim held by, any person.

                   45.     Nothing in this Interim Order is intended to affect any rights of any

            Governmental Unit to enforce any law affecting the Debtor’s conduct of the Store Closing

            Sales prior to the Petition Date.




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                      46.   The requirements set forth in Bankruptcy Rule 6003(b) are satisfied.

                      47.   Notice of the Motion as provided therein shall be deemed good and sufficient

            and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied by such

            notice.

                      48.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

            Interim Order shall be immediately effective and enforceable upon its entry.



                      Dated this ____ day of March, 2017.

                                                            _______________________________________
                                                            UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT B

                                       (Consulting Agreement)




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                                            CONSULTING AGREEMENT

                  This Consulting Agreement (“Agreement”) is made as of February 27, 2017, by and
           between VANITY SHOP OF GRAND FORKS, INC., a North Dakota corporation (collectively,
           together with and on behalf of each of its subsidiaries, if any, “Merchant” or a “Party”), and
           TIGER CAPITAL GROUP, LLC, a Massachusetts limited liability company (“Tiger”)
           (“Consultant” or a “Party” and, together with Merchant, the “Parties”).

                                                       RECITALS

                  WHEREAS, Merchant operates retail stores and desires that the Consultant provide
           consulting services to Merchant with respect to Merchant’s (a) sale of all of the Merchandise (as
           hereinafter defined) from Merchant’s one hundred thirty seven (137) retail store locations identified
           on Exhibit A attached hereto (each individually a “Store,” and collectively the “Stores”) and
           Merchant’s distribution centers identified on Exhibit A attached hereto (“DCs”) by means of a
           “going out of business”, (subject to entry of the Interim Retention Order and Final Retention Order
           (each as defined below), as applicable) “total liquidation”, “inventory blowout sale”, “store
           closing”, “sale on everything”, “everything must go” or similar sale in the Stores, in each case as
           determined by Merchant in its discretion, and subject to the terms of applicable leases and/or local
           laws and ordinances, including, without limitation, permitting requirements (subject to entry of the
           Interim Retention Order and Final Retention Order, as applicable); and (b) disposition of the FF&E
           (as hereinafter defined) in the Stores, DCs and Merchant’s corporate offices (as further described
           below, the “Sale”).

                                                     AGREEMENT

                   NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
           herein, and for other good and valuable consideration, the receipt and sufficiency of which is hereby
           acknowledged, the Consultant and Merchant hereby agrees as follows:

           Section 1.     Appointment of Consultant

           Effective as of the date hereof, Merchant hereby appoints the Consultant, and the Consultant hereby
           agrees to serve, as Merchant’s exclusive independent consultant in connection with the conduct of
           the Sale on the terms and conditions of this Agreement. Consultant shall be authorized to conduct
           and advertise the Sale as a “going out of business”, (subject to entry of the Interim Retention Order
           and Final Retention Order, as applicable) “total liquidation”, “store closing”, “sale on everything”,
           “everything must go”, “inventory blowout sale”, “inventory liquidation”, or similar-themed sale, in
           each case as determined by Merchant in its discretion, and subject to the terms of applicable leases
           and/or local laws and ordinances, including, without limitation, permitting requirements (subject to
           entry of the Interim Retention Order and Final Retention Order, as applicable), and otherwise in
           accordance with the sale guidelines attached hereto as Exhibit B (the “Sale Guidelines”).

           Section 2.     Merchandise

           For purposes hereof, “Merchandise” shall mean all goods, saleable in the ordinary course, located in
           the Stores on the Sale Commencement Date (defined below) or delivered thereto from the DCs after
           the Sale Commencement Date. “Merchandise” does not mean and shall not include: (1) goods that
           belong to sublessees, licensees, department lessees or concessionaires of Merchant; (2) owned


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furnishings, trade fixtures, equipment and improvements to real property that are located in the
Stores, DCs and Merchant’s corporate offices (collectively, “FF&E”); (3) goods held by Merchant
on memo, on consignment, or as bailee; (4) damaged or defective merchandise that cannot be sold
in the ordinary course; (5) unredeemed gift cards, gift certificates, merchandise credits, or rewards
points coupons; or (6) Additional Merchandise.

Section 3.          Sale Term

For each Store, the Sale shall commence on or about March 2, 2017 (the “Sale Commencement
Date”) and is expected to run for approximately five (5) full weeks but shall conclude no later than
April 30, 2017 (the “Sale Termination Date”); provided, however, that the Parties may mutually
agree in writing to extend or terminate the Sale at any Store prior to the Sale Termination Date (it
being understood that, if the timing set forth herein changes, Merchant and Consultant shall
mutually agree on adjustments to the Expense Budget, including Consultant Expenses (defined
below)). For any Store, the period between the Sale Commencement Date and the Sale Termination
Date with respect to such Store shall be referred to as the “Sale Term”. At the conclusion of the
Sale at each Store, Consultant shall surrender the premises for such Store to Merchant in broom
clean condition; provided that unsold FF&E may be abandoned by Consultant in place at the Stores,
the DCs or Merchant’s corporate offices without any cost or liability of any kind to Consultant.

Section 4.          Project Management

         (A)        Consultant’s Undertakings

During the Sale Term, Consultant shall provide Merchant with the following services with respect
to the conduct of the Sale: (a) provide qualified supervisors (the “Supervisors”) engaged by
Consultant to oversee the Sale of the Merchandise from the Stores; (b) determine appropriate point-
of-sale and external advertising for the Stores, approved in advance by Merchant; (c) determine
appropriate discounts with respect to Merchandise, staffing levels for the Stores and the DCs,
approved in advance by Merchant, and appropriate bonus and incentive programs, if any, for the
Stores’ and the DCs’ employees, approved in advance by Merchant; (d) oversee display of
Merchandise for the Stores; (e) evaluate sales of Merchandise by category and sales reporting and
monitor expenses; (f) maintain the confidentiality of all proprietary or non-public information
regarding Merchant in accordance with the provisions of the confidentiality agreement signed by
the Parties; (g) assist Merchant in connection with managing and controlling loss prevention and
employee relations matters; (h) prior to the commencement of the Bankruptcy Case, advise
Merchant of the applicable waiting period under such laws, and/or prepare (in Merchant’s name and
for Merchant’s signature) all permitting paperwork as may be necessary under such laws, deliver all
such paperwork to Merchant, and file, on behalf of Merchant, all such paperwork where necessary,
and/or advise where permitting paperwork and/or waiting periods do not apply; (i) advise Merchant
on consolidating Stores and closing Stores prior to the Sale Termination Date in order to maximize
the net proceeds generated to Merchant from the Sale; and (j) provide such other related services
deemed necessary or appropriate by Merchant and Consultant.

The Parties expressly acknowledge and agree that the Supervisors are independent contractors
engaged by Consultant (not Merchant), Merchant shall have no liability to the Supervisors for
wages, benefits, severance pay, termination pay, vacation pay, pay in lieu of notice of termination


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or any other liability arising from Consultant’s hiring or engagement of the Supervisors, and the
Supervisors shall not be considered employees of Merchant.

         (B)        Merchant’s Undertakings

During the Sale Term, Merchant shall (a) be the employer of the Stores’ and the DCs’ employees,
other than the Supervisors, and provide employees at the Stores and the DCs; (b) prepare and
process all tax forms and other documentation; (c) collect all sales taxes and pay them to the
appropriate taxing authorities for the Stores; (d) use reasonable efforts to cause Merchant’s
employees to cooperate with Consultant and the Supervisors; (e) execute all agreements determined
by the Merchant and Consultant to be necessary or desirable for the operation of the Stores, the DCs
during the Sale; (f) arrange for the ordinary maintenance of all point-of-sale equipment required for
the Stores; and (g) ensure that Consultant has quiet use and enjoyment of, and reasonable access to,
the Stores and the DCs for the Sale Term in order to perform its obligations under this Agreement.

Merchant shall provide throughout the Sale Term central administrative services necessary for the
Sale, including, without limitation, customary POS administration, sales audit, cash reconciliation,
accounting, and payroll processing, all at no cost to Consultant. Merchant shall provide throughout
the Sale Term Merchant’s current credit card systems and servicing arrangements (including
Merchant’s credit card terminals and processor(s), credit card processor coding and bank accounts)
during the course of the Sale at no cost to Consultant.

The Parties expressly acknowledge and agree that Consultant shall have no liability (i) to
Merchant’s employees for wages, benefits, severance pay, termination pay, vacation pay, pay in lieu
of notice of termination or any other liability arising from Merchant’s employment, hiring or
retention of its employees, and such employees shall not be considered employees of Consultant,
and (ii) to pay any of Merchant’s taxes, costs, expenses, accounts payable, and liabilities relating to
the Stores, the DCs, the Stores’ employees and other representatives of Merchant, all of which shall
be the responsibility of the Merchant.

Section 5.          The Sale

All sales of Merchandise shall be made on behalf of Merchant. Other than any security interest or
lien granted under this Agreement (limited to Consultant’s interest in the Segregated Account
(defined below) to the extent provided herein), Consultant does not have, nor shall it have, any
right, title or interest in the Merchandise. Subject to the entry of the Interim Retention Order (as
defined below) and the Final Retention Order (as defined below), all sales of Merchandise shall be
by cash, gift card, gift certificate, merchandise credit, rewards points coupon or credit card and, at
Merchant’s discretion, by check or otherwise in accordance with Merchant’s policies, and shall be
“final” with no returns accepted or allowed, unless otherwise directed by Merchant. Prior to the
commencement of the Bankruptcy Case (defined herein), Merchant shall advertise and conduct the
Sale as a “store closing”, “inventory blowout sale”, “inventory liquidation”, “sale on everything”,
“everything must go”, or similar-themed sale, in each case as determined by Merchant in its
discretion, and subject to the terms of applicable leases and/or local laws and ordinances, including,
without limitation, permitting requirements. Upon entry of the Interim Retention Order (and to the
extent applicable, the Final Retention Order), Merchant shall be allowed to advertise and conduct
the Sale as a “going out of business”, “total liquidation”, “store closing”, “sale on everything”,
“everything must go” “inventory blowout sale”, “inventory liquidation”, or similar-themed sale.

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Section 6.          Consultant Fee and Expenses in Connection with the Sale

         (i)        Certain Definitions

As used in this Agreement, the following terms shall have the following meanings:

         a.         “Cost Value” shall mean, with respect to each item of Merchandise, on an SKU, by
                    location basis, the lowest cost of such item, as reflected in the File; provided, that
                    with respect to Returned Merchandise that is saleable as first quality Merchandise,
                    such Returned Merchandise shall be included in Merchandise and shall be included
                    in the calculation of Cost Value but subject to the prevailing discount; provided,
                    further, that any Returned Merchandise that is not saleable as first quality
                    Merchandise shall be excluded as Merchandise under this Agreement.

         b.         “File” shall mean “3 Store SKU OH detail as of 2.18.17”, together with all updated
                    versions of such file delivered by Merchant to Consultant, if any, on or prior to the
                    Sale Commencement Date.

         c.         “Gross Proceeds” shall mean gross receipts (including, without limitation, receipts as
                    a result of the redemption of any gift card, gift certificate, merchandise credit or
                    rewards points coupon, net only of applicable sales taxes; provided, however, that it
                    is expressly understood and agreed that Gross Proceeds shall not include proceeds of
                    sales made prior to the Sale Commencement Date or after the Sale Termination Date
                    (including items which were sold prior to the Sale Commencement Date but
                    delivered following the Sale Commencement Date).

         d.         “Recovery Percentage” shall mean, with respect to the Merchandise, the aggregate
                    Gross Proceeds of all sales of the Merchandise divided by the aggregate Cost Value
                    of the items of Merchandise sold during the Sale.

         e.         “Returned Merchandise” shall mean Merchandise sold by Merchant prior to the Sale
                    Commencement Date that is returned in accordance with Merchant’s return policy.

         (ii)       Consultant Fee

In consideration of its services hereunder with respect to the Stores, Consultant shall earn a fee (the
“Merchandise Fee”) equal to the product of the Gross Proceeds of the Merchandise and the
percentage determined pursuant to the following table (the “Consultant’s Percentage”):

                                                              Consultant’s
                                Recovery Percentage           Percentage
                                    < 135.00%                   0.00%
                                  135.00-139.99%                1.00%
                                  140.00-144.99%                1.50%
                                    ≥ 145.00%                   2.00%

The Recovery Percentage for the Merchandise shall be determined in connection with the Final
Reconciliation, and once determined, the Parties (as part of the Final Reconciliation) shall
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determine the applicable Consultant’s Percentage. Once Consultant’s Percentage is determined, the
Merchandise Fee shall be calculated using the applicable Consultant’s Percentage back to dollar
one.

If requested by Merchant, Consultant shall sell Merchant’s goods not constituting Merchandise
during the Sale at the Stores, and in consideration of such services with respect to the Stores,
Consultant shall earn a fee equal to the twenty percent (20%) multiplied by the Gross Proceeds from
the sale of such goods at the Stores.

         (iii)      Additional Merchandise

Upon entry of the Interim Retention Order, Consultant shall have the right, at Consultant’s sole cost
and expense, to supplement the Merchandise in the Sale with additional goods procured by
Consultant which are of like kind, and no lesser quality, to the Merchandise in the Sale (“Additional
Merchandise”). Consultant shall consult with Merchant with respect to the Additional Merchandise
to ensure that the Additional Merchandise is of like kind, and no lesser quality, to the Merchandise
in the Sale and is in categories designed to enhance the Sale. The Additional Merchandise shall be
purchased by Consultant as part of the Sale, and delivered to the Stores at Consultant’s sole expense
(including as to labor, freight and insurance relative to shipping such Additional Merchandise to the
Stores). Sale of Additional Merchandise shall be run through Merchant’s cash register systems;
provided that Consultant shall mark the Additional Merchandise using either a “dummy” SKU or
department number, or in such other manner so as to distinguish the sale of Additional Merchandise
from the sale of Merchandise.

Consultant shall pay to Merchant an amount equal to five percent (5%) of the Gross Proceeds from
the sale of the Additional Merchandise (the “Additional Merchandise Fee”). Consultant shall retain
all remaining amounts from the sale of the Additional Merchandise. Consultant shall pay Merchant
its Additional Merchandise Fee in connection with each weekly sale reconciliation with respect to
sales of Additional Merchandise sold by Consultant during each then prior week (or at such other
mutually agreed upon time).

Consultant and Merchant intend that the transactions relating to the Additional Merchandise are,
and shall be construed as, a true consignment from Consultant to Merchant in all respects and not a
consignment for security purposes. Subject solely to Consultant's obligations to pay to Merchant the
Additional Merchandise Fee and the security interest of any lender under Merchant’s existing credit
facility, including, without limitation, Wells Fargo Bank, National Association (“Wells Fargo” or
“Lender”) in such Additional Merchandise Fee, at all times and for all purposes the Additional
Merchandise and the proceeds thereof shall be the exclusive property of Consultant, and no other
person or entity shall have any claim against any of the Additional Merchandise or its proceeds. The
Additional Merchandise shall at all times remain subject to the exclusive control of Consultant.
Subject solely to Consultant’s obligations to pay the Merchant the Additional Merchandise Fee and
the security interest of Wells Fargo in such Additional Merchandise Fee, the Additional
Merchandise and the identifiable proceeds thereof are not property of the Merchant (or the
Merchant’s estate) and do not constitute property of the Merchant (or the Merchant’s estate) subject
to any Lender’s lien.

Merchant shall, at Consultant's sole cost and expense, insure the Additional Merchandise and, if
required, promptly file any proofs of loss with regard to same with Merchant's insurers. Consultant

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shall be responsible for payment of any deductible under any such insurance in the event of any
casualty affecting the Additional Merchandise.

Merchant acknowledges, and the Interim Retention Order and the Final Retention Order shall
provide, that the Additional Merchandise shall be consigned to Merchant as a true consignment
under Article 9 of the Uniform Commercial Code (“UCC”). Consultant is hereby granted a valid,
binding and enforceable security interest in and lien upon (i) the Additional Merchandise and (ii)
the Additional Merchandise proceeds (with respect to the Additional Merchandise and the
identifiable Additional Merchandise proceeds, senior to all other liens on such collateral, including,
without limitation, any liens in favor of any Lender), which security interest shall be deemed
perfected pursuant to the Interim Retention Order and the Final Retention Order without the
requirement of filing UCC financing statements or providing notifications to any prior secured
parties (provided that Consultant is hereby authorized to deliver (and Merchant shall cooperate with
the delivery of) all required notices and file all necessary financing statements and amendments
thereof under the applicable UCC identifying Consultant’s interest in the Additional Merchandise as
consigned goods thereunder and the Merchant as the consignee therefor, and Consultant's security
interest in and lien upon such Additional Merchandise and Additional Merchandise proceeds). WF
acknowledges and agrees that (i) the Additional Merchandise and any identifiable proceeds thereof
are not property of the Merchant (or the Merchant’s estate) and do not constitute property of the
Merchant (or the Merchant’s estate) subject to any Lender’s lien and (ii) Consultant’s security
interest and lien upon (x) the Additional Merchandise and (y) the Additional Merchandise proceeds
is valid, binding and enforceable and, upon the entry of the Interim Retention Order, shall be
deemed perfected without the filing of a UCC financing statement for the purposes of Section 9-
324(b)(1) of the UCC and (iii) this Agreement shall constitute a sufficient authenticated notification
received by WF and containing all necessary information for the purposes of Section 9-324(b)(2),
(3) and (4) of the UCC).

The Interim Retention Order and the Final Retention Order shall incorporate these provisions.

         (iv)       Expenses

Merchant shall be solely responsible for all expenses of the Sale, including, without limitation, (A)
all Store-level and DC-level operating expenses and (B) to the extent in compliance with the
Expense Budget (as defined below), the reasonable fees and expenses of Consultant’s legal counsel
incurred in connection with the negotiation of, and entrance into, this Agreement, Consultant’s
performance under this Agreement and the conduct of the Sale. To control expenses of the Sale,
Merchant and Consultant have established an aggregate budget (the “Expense Budget”) for Store-
level expenses directly incurred by Consultant (denominated in the Expense Budget under the
heading “Consultant Expenses”), which Consultant Expenses the Consultant shall not exceed in the
aggregate absent Merchant’s written consent, which consent may be withheld, delayed or denied in
Merchant’s sole discretion. The Expense Budget includes various Store-level costs and expenses of
the Sale that will be directly incurred by Consultant, including costs of supervision (including,
without limitation, Supervisors’ wages, fees, travel and industry standard deferred compensation)
and advertising and promotion costs (including, without limitation, interior and exterior signage,
print and other media advertising, direct mail, etc.)). The Expense Budget also limits the amount of
fees and expenses of Consultant’s legal counsel that are to be paid by Merchant. The Expense
Budget does not include Store-level expenses to be incurred by Merchant (including payroll and
occupancy expenses) or expenses relating to Merchant’s corporate offices or the DCs, which

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expenses shall in each case not be subject to the Expense Budget. The Expense Budget for the Sale
is attached hereto as Exhibit C. The Expense Budget may only be modified by mutual agreement of
Consultant and Merchant. The costs of supervision set forth on Exhibit C include, among other
things, industry standard deferred compensation. Upon execution of this Agreement, Merchant
shall advance Consultant $200,000 (the “Retainer”) to cover expenses of the Sale (including,
without limitation, supervision and advertising) and amounts due to Consultant. Prior to the entry
of the Final Retention Order, Merchant shall not be permitted to apply (by offset or otherwise) the
Retainer against any amounts due and owing to Consultant; provided, that, if the Bankruptcy Court
declines to enter the Interim Retention Order, Merchant shall be allowed to use the Retainer to pay
all amounts due Consultant under this Agreement. From and after the entry of the Final Retention
Order, the Retainer shall be applied to expenses required to be reimbursed to Consultant by
Merchant and other amounts payable to Consultant in accordance with the terms of this Agreement.

         (v)        Reconciliation

All accounting matters (including, without limitation, all fees and expenses per the Expense Budget
that are reimbursable or payable to Consultant or, with respect to the Additional Merchandise Fee,
Merchant) shall be reconciled on every Wednesday for the prior week (ending, for the avoidance of
doubt, on the preceding Sunday) and shall be paid within five (5) days after each such weekly
reconciliation. The Parties shall complete a final reconciliation and settlement of all amounts
payable to Consultant and contemplated by this Agreement (including, without limitation, Expense
Budget items, and fees earned hereunder) no later than forty five (45) days following the Sale
Termination Date for the last Store (the “Final Reconciliation”).

         (vi)       Weekly Deposit of Estimated Merchandise Fee

Merchant shall deposit on a weekly basis (payable at the same time as amounts due with respect to
the corresponding weekly reconciliation) 1% of the prior week’s Gross Proceeds from the sale of
Merchandise in a segregated account (the “Segregated Account”). The Merchandise Fee, the FF&E
Fee, and any proceeds from the sale of Additional Merchandise owed to Consultant and all of
Merchant’s other payment obligations to Consultant under this Agreement shall be secured by (and
Merchant hereby grants to Consultant) a security interest in and lien on the Segregated Account and
all funds on deposit therein. Such security interest and lien created hereunder is (i) validly created
and effective upon immediately upon execution of this Agreement, and (ii) subject to (x) prior to the
commencement of the Bankruptcy Case, Consultant’s satisfaction of all steps required to perfect a
security interest in such Segregated Account, or (y) subject to entry of the Interim Retention Order
or the Final Retention Order, senior to all other liens on such collateral, including, without
limitation, any liens in favor of the Wells Fargo (to the extent permitted by applicable law). Wells
Fargo hereby expressly consents to Merchant’s grant to Consultant of a security interest in the funds
deposited in the Segregated Account only (including as to the priority of such security interest and
lien granted to Consultant); provided, however, the security interest granted to Consultant hereunder
shall be junior and subordinate in all respects to the security interests of Wells Fargo in the funds
deposited in the Segregated Account to the extent and amount of any unperformed obligations by
Consultant owing to Merchant hereunder. Consultant is hereby authorized to deliver (and Merchant
shall cooperate with Consultant with respect to the delivery of) all filings (including, without
limitation, UCC-1 financing statements) and other actions to the extent reasonably requested by
Consultant in connection with the security interests and liens granted under this Agreement. The
Interim Retention Order and the Final Retention Order shall deem such security interest and lien

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perfected without any requirement of filing UCC financing statements or providing notifications to
any prior secured parties. In the event the Bankruptcy Court declines to enter the Interim Retention
Order, the Consultant agrees to return to Merchant the amounts then remaining on deposit in the
Segregated Account and the Retainer, net of any amounts due Consultant under the terms of this
Agreement. Any such refund/return shall be completed not later than seven (7) days after the
hearing in connection with the Retention Motion (defined below).



Section 7.          Indemnification

         (i)        Merchant’s Indemnification

Merchant shall indemnify, defend, and hold Consultant and its consultants, members, managers,
partners, officers, directors, employees, attorneys, advisors, representatives, lenders, potential co-
investors, principals, affiliates, and Supervisors (collectively, “Consultant Indemnified Parties”)
harmless from and against all liabilities, claims, demands, damages, costs and expenses (including
reasonable attorneys’ fees) arising from or related to: (a) the willful or grossly negligent acts or
omissions of Merchant or the Merchant Indemnified Parties (as defined below); (b) the material
breach of any provision of this Agreement by Merchant; (c) any liability or other claims, including,
without limitation, product liability claims, asserted by customers, any Store employees (under a
collective bargaining agreement or otherwise), or any other person (excluding Consultant
Indemnified Parties) against Consultant or an Consultant Indemnified Party, except claims arising
from Consultant’s gross negligence, willful misconduct or unlawful behavior; (d) any harassment,
discrimination or violation of any laws or regulations or any other unlawful, tortious or otherwise
actionable treatment of Consultant’s Indemnified Parties or Merchant’s customers by Merchant or
Merchant’s Indemnified Parties; and (e) Merchant’s failure to pay over to the appropriate taxing
authority any taxes required to be paid by Merchant during the Sale Term in accordance with
applicable law.

         (ii)       Consultant’s Indemnification

Consultant shall indemnify, defend and hold Merchant and its consultants, members, managers,
partners, officers, directors, employees, attorneys, advisors, representatives, lenders, potential co-
investors, principals, and affiliates (other than the Consultant or the Consultant Indemnified Parties)
(collectively, “Merchant Indemnified Parties”) harmless from and against all liabilities, claims,
demands, damages, costs and expenses (including reasonable attorneys’ fees) arising from or related
to (a) the willful or grossly negligent acts or omissions of Consultant or the Consultant Indemnified
Parties; (b) the breach of any provision of, or the failure to perform any obligation under, this
Agreement by Consultant; (c) any liability or other claims made by Consultant’s Indemnified
Parties or any other person (excluding Merchant Indemnified Parties) against a Merchant
Indemnified Party arising out of or related to Consultant’s conduct of the Sale, except claims arising
from Merchant’s gross negligence, willful misconduct, or unlawful behavior; (d) any harassment,
discrimination or violation of any laws or regulations or any other unlawful, tortious or otherwise
actionable treatment of Merchant Indemnified Parties, or Merchant’s customers by Consultant or
any of the Consultant Indemnified Parties, (e) any claims made by any party engaged by Consultant
as an employee, agent, representative or independent contractor arising out of such engagement,
including, without limitation, any Supervisor, and (f) any claims, demands, penalties, losses,

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liability or damage, including, without limitation, reasonable attorneys’ fees and expenses arising
from Merchant’s alleged violation of any local law or ordinance restricting the use of external and
outdoor advertising methods (e.g., banners and signwalkers) as recommended by Consultant.

Section 8.          Insurance

         (A)        Merchant’s Insurance Obligations

Merchant shall maintain throughout the Sale Term, liability insurance policies (including, without
limitation, products liability (to the extent currently provided), comprehensive public liability
insurance and auto liability insurance) covering injuries to persons and property in or in connection
with the Stores, and shall cause Consultant to be named an additional insured with respect to all
such policies. At Consultant’s request, Merchant shall provide Consultant with a certificate or
certificates evidencing the insurance coverage required hereunder and that Consultant is an
additional insured thereunder. In addition, Merchant shall maintain throughout the Sale Term, in
such amounts as it currently has in effect, workers compensation insurance in compliance with all
statutory requirements.

         (B)        Consultant’s Insurance Obligations

As an expense of the Sale and set forth on the Expense Budget, Consultant shall maintain
throughout the Sale Term, liability insurance policies (including, without limitation, products
liability/completed operations, contractual liability, comprehensive public liability and auto liability
insurance) on an occurrence basis in an amount of at least one million dollars ($1,000,000) and an
aggregate basis of at least five million dollars ($5,000,000) covering injuries to persons and
property in or in connection with Consultant’s provision of services at the Stores. Consultant shall
name Merchant as an additional insured and loss payee under such policy, and upon execution of
this Agreement provide Merchant with a certificate or certificates evidencing the insurance
coverage required hereunder. In addition, Consultant shall maintain throughout the Sale Term,
workers compensation insurance compliance with all statutory requirements. Further, should
Consultant employ or engage third parties to perform any of Consultant’s undertakings with regard
to this Agreement, Consultant will ensure that such third parties are covered by Consultant’s
insurance or maintain all of the same insurance as Consultant is required to maintain pursuant to
this paragraph and name Merchant as an additional insured and loss payee under the policy for each
such insurance.

Section 9.          Representations, Warranties, Covenants and Agreements

         (A)        Merchant’s Representations, Warranties, Covenants and Agreements.

Merchant warrants, represents, covenants and agrees that (a) Merchant is a corporation duly
organized, validly existing and in good standing under the laws of its state of organization, with full
power and authority to execute and deliver this Agreement and to perform its obligations hereunder,
and maintains its principal executive office at the address set forth herein, (b) the execution,
delivery and performance of this Agreement has been duly authorized by all necessary actions of
Merchant and this Agreement constitutes a valid and binding obligation of Merchant enforceable
against Merchant in accordance with its terms and conditions (except as such enforceability may be
limited by applicable bankruptcy, reorganization, moratorium or other similar laws affecting

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creditors’ rights generally and by general principles of equity (regardless of whether enforceability
is consider in a proceeding in equity or at law), and the consent of no other entity or person is
required for Merchant to fully perform all of its obligations herein, (c) all ticketing of Merchandise
at the Stores and the DCs has been and will be done in accordance with Merchant’s customary
ticketing practices, (d) all normal course hard markdowns on the Merchandise have been, and will
be, taken consistent with customary Merchant’s practices, (e) other than as a result of the
Bankruptcy Case, the Stores and the DCs will be operated in the ordinary course of business in all
respects, other than those expressly agreed to by Merchant and Consultant, and (f) Merchant shall
comply with and act in accordance with any and all applicable state and local laws, rules, and
regulations, and other legal obligations of all governmental authorities (except as such may be
modified pursuant to the terms of the Interim Retention Order and the Final Retention Order).

         (B)        Consultant’s Representations, Warranties, Covenants and Agreements.

Each entity comprising Consultant warrants, represents, covenants and agrees that (a) such entity is
a limited liability company duly organized, validly existing and in good standing under the laws of
its state of organization, with full power and authority to execute and deliver this Agreement and to
perform the Consultant’s obligations hereunder, and maintains its principal executive office at the
addresses set forth herein, (b) the execution, delivery and performance of this Agreement has been
duly authorized by all necessary actions of such entity and this Agreement constitutes a valid and
binding obligation of such entity enforceable against it in accordance with its terms and conditions
(except as such enforceability may be limited by applicable bankruptcy, reorganization, moratorium
or other similar laws affecting creditors’ rights generally and by general principles of equity
(regardless of whether enforceability is consider in a proceeding in equity or at law), and the
consent of no other entity or person is required for Consultant to fully perform all of its obligations
herein, (c) Consultant shall comply with and act in accordance with any and all applicable state and
local laws, rules, and regulations, and other legal obligations of all governmental authorities (except
as such may be modified pursuant to the terms of the Interim Retention Order and the Final
Retention Order), (d) no non-emergency repairs or maintenance in the Stores will be conducted
without Merchant’s prior written consent, which consent may be withheld, delayed or denied in
Merchant’s sole discretion, and (e) Consultant will not take any disciplinary action against any
employee of Merchant.

Section 10.         Furniture, Fixtures and Equipment

Consultant shall sell the FF&E (i) in the Stores and the DCs from the Stores and the DCs
themselves and (ii) in the DCs and Merchant’s corporate offices. Merchant shall be responsible for
all reasonable costs and expenses incurred by Consultant in connection with the sale of FF&E,
which costs and expenses shall be incurred pursuant to a budget or budgets to be established from
time to time by mutual agreement of the Parties. Consultant shall have the right to abandon at the
Stores, DCs and/or Merchant’s corporate offices any unsold FF&E without any cost or liability of
any kind to Consultant.

In consideration for providing the services set forth in this section 10, Consultant shall be entitled to
a commission from the sale of the FF&E equal to twenty percent (20.00%) of the Gross Proceeds of
the sale of the FF&E (the “FF&E Fee”). Prior to Consultant selling the FF&E, Merchant and
Consultant shall negotiate a FF&E expense budget (the “FF&E Expense Budget”) setting forth the
expenses to be incurred by Consultant for the sale of the FF&E (the “Consultant FF&E Expenses”).

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The Consultant shall not exceed in the aggregate the amounts set forth on the FF&E Expense
Budget absent Merchant’s written consent, which consent may be withheld, delayed or denied in
Merchant’s sole discretion. Merchant shall be responsible for paying all Consultant FF&E
Expenses up to the FF&E Expense Budget.

Consultant shall remit to Merchant all Gross Proceeds from the sale of FF&E. During each weekly
reconciliation described in section 6 above, Consultant’s FF&E Fee shall be calculated, and
Consultant’s calculated FF&E Fee and all Consultant FF&E Expenses then incurred shall paid
within seven (7) days after each such weekly reconciliation.

Section 11.         [Reserved]

Section 12.         Notices

All notices, certificates, approvals, and payments provided for herein shall be sent by electronic
mail as follows: (a) To Merchant: (i) Vanity Shops of Grand Forks, Inc., 1001 North 25th Street,
Attn: Jim Bennett, Facsimile: (406)-652-8320, Email: jimb@diamondbco.com, and (ii) Vogel Law
Firm, 218 NP Ave Fargo, ND 58102, Attn: Caren W. Stanley Facsimile: (701) 476.7676, Email:
cstanley@vogellaw.com; (b) To Consultant: (i) Tiger Capital Group, LLC, 60 State Street, 11th
Floor, Boston, MA 02109, Attn: Michael McGrail, Facsimile: (617) 523-3007, Email:
mmcgrail@tigergroup.com and (iii) Cohen Tauber Spievack & Wagner P.C., 420 Lexington
Avenue, Suite 2400, New York, NY 10170, Attn: Robert A. Boghosian, Esq., Facsimile: (212) 586-
5095, Email: rboghosian@ctswlaw.com (c) To Wells Fargo: (i) One Boston Place, 19th Floor,
Boston, MA 02108, Attn: Brent Shay, Director, Fax: ______________, Email:
sally.a.sheehan@wellsfargo.com, and (ii) Riemer & Braunstein LLP, Three Center Plaza, Boston,
MA 02108, Attn: Donald E. Rothman, Esq., Fax (617) 692-3556, Email:
drothman@riemerlaw.com; or (d) such other address as may be designated in writing by Merchant,
Consultant or Wells Fargo.

Section 13.         Independent Consultant

Consultant’s relationship to Merchant is that of an independent contractor without the capacity to bind
Merchant in any respect. No employer/employee, principal/agent, joint venture or other such
relationship is created by this Agreement. Merchant shall have no control over the hours that
Consultant or its employees or assistants or the Supervisors work or the means or manner in which the
services that will be provided are performed and Consultant is not authorized to enter into any contracts
or agreements on behalf of Merchant or to otherwise create any obligations of Merchant to third
parties, unless authorized in writing to do so by Merchant.

Section 14.         Non-Assignment

Neither this Agreement nor any of the rights hereunder may be transferred or assigned by either
Party without the prior written consent of the other Party; provided, that Consultant agrees that
Merchant may assign this Agreement to its lender(s) as collateral security for any obligations due
such lender(s). No modification, amendment or waiver of any of the provisions contained in this
Agreement, or any future representation, promise or condition in connection with the subject matter
of this Agreement, shall be binding upon any Party to this Agreement unless made in writing and
signed by a duly authorized representative or agent of such Party. This Agreement shall be binding

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upon and inure to the benefit of the Parties and their respective heirs, legal representatives,
successors and permitted assigns.

Section 15.         Severability

If any term or provision of this Agreement, as applied to either Party or any circumstance, for any
reason shall be declared by a court of competent jurisdiction to be invalid, illegal, unenforceable,
inoperative or otherwise ineffective, that provision shall be limited or eliminated to the minimum
extent necessary so that this Agreement shall otherwise remain in full force and effect and
enforceable. If the surviving portions of the Agreement fail to retain the essential understanding of
the Parties, the Agreement may be terminated by mutual consent of the Parties.

Section 16.         Governing Law and Jury Waiver

This Agreement, and its validity, construction and effect, shall be governed by and enforced in
accordance with the internal laws of the State of North Dakota (without reference to the conflicts of
laws provisions therein). Merchant and Consultant waive their respective rights to trial by jury of
any cause of action, claim, counterclaim or cross-complaint in any action, proceeding and/or
hearing brought by either Consultant against Merchant or Merchant against Consultant on any
matter whatsoever arising out of, or in any way connected with, this Agreement, the relationship
between Merchant and Consultant, any claim of injury or damage or the enforcement of any remedy
under any law, statute or regulation, emergency or otherwise, now or hereafter in effect.

Section 17.         Entire Agreement

This Agreement, together with all additional schedules and exhibits attached hereto, constitutes a
single, integrated written contract expressing the entire agreement of the Parties concerning the
subject matter hereof. No covenants, agreements, representations or warranties of any kind
whatsoever have been made by any Party except as specifically set forth in this Agreement. All
prior agreements, discussions and negotiations are entirely superseded by this Agreement.

Section 18.         Execution

This Agreement may be executed simultaneously in counterparts (including by means of electronic
mail, facsimile or portable document format (pdf) signature pages), any one of which need not
contain the signatures of more than one party, but all such counterparts taken together shall
constitute one and the same instrument. This Agreement, and any amendments hereto, to the extent
signed and delivered by means of electronic mail, a facsimile machine or electronic transmission in
portable document format (pdf), shall be treated in all manner and respects as an original thereof
and shall be considered to have the same binding legal effects as if it were the original signed
version thereof delivered in person.

Section 19.         Bankruptcy; Jurisdiction; Venue

Upon the commencement of a chapter 11 case by the Merchant (the “Bankruptcy Case”) seeking
protection under Title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court (the “Bankruptcy Court”), Merchant shall promptly (and in no event more than
one business day after the date of Merchant’s commencement of the Bankruptcy Case) file a motion

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in the Bankruptcy Court seeking expedited entry of an interim order (the “Interim Retention Order”)
and a final order (the “Final Retention Order”), in each case by the Bankruptcy Court under section
327, 328 and 365 of the Bankruptcy Code, in form and substance reasonably acceptable to
Consultant, authorizing the Merchant’s assumption of and approving of this Agreement. The
Merchant shall use the Merchant’s best efforts to ensure that the Interim Retention Order and the
Final Retention Order shall be entered and specifically provide, among other things, that: (i)
Consultant is being retained pursuant to sections 327 and 328 of the Bankruptcy Code by the
Merchant; (ii) the payment of all fees and reimbursement of expenses hereunder to Consultant is
approved under section 328(a) of the Bankruptcy Code without further order of the Bankruptcy
Court and shall be free and clear of all liens, claims and encumbrances; (iii) all such payments of
fees and reimbursement of expenses shall be made on a weekly basis without further order of the
Bankruptcy Court and in accordance with this Agreement; (iv) Consultant is not required to
maintain time records or file interim or final fee applications; (v) the transaction contemplated
hereby is approved and this Agreement is assumed; (vi) the Sale in accordance with the terms of
this Agreement and the Sale Guidelines is authorized without the necessity of Consultant or
Merchant complying with state and local rules, laws, ordinances and regulations, including, without
limitation, permitting and licensing requirements, that would otherwise govern the Sale; (vii) the
Sale in accordance with the terms of this Agreement and the Sale Guidelines is authorized
notwithstanding restrictions in leases, reciprocal easement agreements or other contracts that
purport to restrict the Sale or the necessity of obtaining any third party consents; (viii) all security
interests and/or liens granted pursuant to this Agreement are validly created, effective and perfected
(subject to the priority set forth herein) without any requirement of filing UCC financing statements
or providing notifications to any prior secured parties; (ix) the sale of Additional Merchandise in
accordance with the terms and conditions of this Agreement is approved; and (x) Merchant and
Consultant are authorized to take all further actions as are necessary or appropriate to carry out the
terms and conditions of this Agreement. Following the commencement of Bankruptcy Case by the
Merchant, any legal action, suit or proceeding arising in connection with this Agreement shall be
submitted to the exclusive jurisdiction of the Bankruptcy Court and each Party hereby waives any
defenses or objections based on lack of jurisdiction, improper venue or forum non conveniens.


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                                  CONSULTANT:

                                  TIGER CAPITAL GROUP, LLC


                                  ___________________________________
                                  By: Michael McGrail
                                  Its: Chief Operating Officer




                             [Signature Page to Consulting Agreement]
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  Loc                    Location                                   Location                   Location       Location   Postal
Number                    Name                                      Address                      City          State     Code
  2      Miller Hill Mall                       1600 Miller Trunk Highway, Space # I-5   Duluth                 MN       55811
  3      Columbia Mall                          2800 So. Columbia Rd. #329               Grand Forks            ND       58201
  4      Kirkwood Mall                          626 Kirkwood Mall #175                   Bismarck               ND       58504
  5      West Acres Shopping Center             3902 13th Avenue South Suite #2321       Fargo                  ND       58103
  8      Westgate Mall                          14136 Baxter Dr Ste 30                   Baxter                 MN       56425
  9      Paul Bunyan Mall                       1401 Paul Bunyan Dr. NW #48              Bemidji                MN       56601
  10     Kandi Mall                             1605 1st Street South #A-117             Willmar                MN       56201
  11     The Empire Mall                        4001 West 41st Street. #1540             Sioux Falls            SD       57106
  12     River Hill Mall                        1850 Adams Street #120                   Mankato                MN       56001
  13     Silver Lakes Mall                      200 West Hanley Avenue; Suite 1117       Coeur d' Alene         ID       83815
  15     Rimrock Mall                           300 So. 24th Street West; Suite #A13     Billings               MT       59102
  16     Gallatin Valley Mall                   2825 Main Street Unit 5-G                Bozeman                MT       59718
  18     Rushmore Mall                          2200 North Maple Avenue Space #2440      Rapid City             SD       57701
  19     Prairie Hills Mall                     1681 3rd Avenue West #15                 Dickinson              ND       58601
  20     323 Main Ave                           PO Box 1492                              Williston              ND       58801
  22     Washington Square Mall                 815 Lake Ave                             Detroit Lakes          MN       56501
  25     Watertown Mall                         1300 9th Avenue SE Ste 54                Watertown              SD       57201
  26     Dakota Square Mall                     2400 10th Street SW #409                 Minot                  ND       58701
  27     Crossroads Shopping Center             4201 West Division Street                St. Cloud              MN       56301
  28     Southern Hills Mall                    4400 Sergeant Road Suite 370             Sioux City             IA       51106
  31     Viking Plaza                           3015 Highway 29 So.; Suite 4006          Alexandria             MN       56308
  32     Central Square Mall                    201 NW 4th Street #32                    Grand Rapids           MN       55744
  35     Butte Plaza Mall                       3100 Harrison Ave, Space C-4             Butte                  MT       59701
  36     Holiday Village Mall                   1200 10th Avenue South Ste 12            Great Falls            MT       59405
  46     Janesville Mall                        2500 Milton Ave Space 122A               Janesville             WI       53545
  47     Fox River Mall                         4301 West Wisconsin Ave #808             Grand Chute            WI       54913
  48     Southridge Mall                        5300 S 76th St #290                      Greendale              WI       53129
  49     Great Lakes Crossing                   4282B Baldwin Rd. Space # 530A           Auburn Hills           MI       48326
  51     Wausau Center Mall                     C320 Wausau Center, #320                 Wausau                 WI       54403
  54     Independence Center                    18813 East 39th Street, #2048            Independence           MO       64057
  60     Gateway Mall                           6100 O St.                               Lincoln                NE       68505
  61     Westroads Shopping Center              10000 California Street; Suite 2248      Omaha                  NE       68114
  65     Conestoga Mall                         3404 West 13th Street Suite 125          Grand Island           NE       68803
  66     Hilltop Mall                           5027 2nd Ave. Ste 38                     Kearney                NE       68847
  68     Sunset Plaza                           1700 Market Lane; Suite 8                Norfolk                NE       68701
  69     North Platte Mall                      1100 S Dewey St                          North Platte           NE       69101
  70     Pine Ridge Mall                        4155 Yellowstone Avenue; Suite 1210      Chubbuck               ID       83202
  71     Grand Teton Mall                       2300 East 17th Street Space #136         Idaho Falls            ID       83404
  72     Magic Valley Mall                      1485 Poleline Rd. East; Suite 227        Twin Falls             ID       83301
  73     Jordan Creek Town Center               101 Jordan Creek Parkway Space 12568     West Des Moines        IA       50266
  74     Boise Towne Center                     350 North Milwaukee #2007                Boise                  ID       83704
  75     Northtown Mall                         4750 North Division St,. Sapce 224       Spokane                WA       99207
  76     Spokane Valley Mall                    14700 E Indiana, Space 1024              Spokane                WA       99216
  77     Southbridge Mall                       100 South Federal Avenue #108            Mason City             IA       50401
  78     New Gate Mall                          1214 New Gate Mall Space #1214           Ogden                  UT       84405
  80     Rivertown Crossing Mall                3700 Rivertown PKWY #2010                Grandville             MI       49418
  81     Johnson City Mall                      2011 North Roan St.                      Johnson City           TN       37601
  82     Stones River Mall                      1720 Old Fort Parkway Space #F0105       Murfreesboro           TN       37129
  83     Governor's Square Mall                 2801 Wilma Rudolph BLVD Suite 870        Clarksville            TN       37040
  84     Fashion Square Mall                    4880 Fasion Square Mall #116             Saginaw                MI       48604
  88     Cache Valley Mall                      1300 Cache Valley Mall Space 1340        Logan                  UT       84341
  90     Great Lakes Mall                       7850 Mentor Have, Ste #554B              Mentor                 OH       44060
  92     Greenwood Mall                         2625 Scottsville Road Space #330         Bowling Green          KY       42104
  94     Layton Hills Mall                      1036 Layton Hills Mall                   Layton                 UT       84041
  96     Meridian Mall                          1982 Grand River Ave Space 245           Okemos                 MI       48864
  98     East Towne Mall                        8 East Towne Mall, E-506                 Madison                WI       53704
 100     Ohio Valley Mall                       67800 Mall Road, Space 550               St. Clairesville       OH       43950
 104     Oakwood Mall                           4800 Golf Road, Space 334                Eau Claire             WI       54701
 105     Valley View Mall                       3800 State Road #16                      La Crosse              WI       54601
 106     Bay Park Square                        275 Bay Park Square, #275                Green Bay              WI       54304




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  Loc                     Location                                 Location                       Location         Location   Postal
Number                     Name                                    Address                          City            State     Code
 108     Glenbrook Square Mall                 4201 Coldwater Road Space M16A               Fort Wayne               IN       46805
 109     College Mall                          2894 E 3rd Street Space PO6                  Bloomington              IN       47401
 110     Muncie Mall                           3501 N Granville Ave Space L03A              Muncie                   IN       47303
 111     Lakewood Mall                         3315 6th Ave SE                              Aberdeen                 SD       57401
 112     Greenwood Park Mall                   1251 US 31 North Space F-13                  Greenwood                IN       46142
 114     The Mall at Fairfield Commons         2727 Fairfield Commons Space #W223           Beavercreek              OH       45431
 115     Dayton Mall                           2700 Miamisburg-Centerville Mall Space 370   Dayton                   OH       45459
 116     Lima Mall                             2400 Elida Rd Space #364                     Lima                     OH       45805
 117     Southern Park Mall                    7401 Market St. Space #823                   Youngstown               OH       44512
 122     South Towne Center                    10450 S State Street Ste 2312                Sandy                    UT       84070
 124     Tri County Mall                       11700 Princeton Pike Space D 9A              Cincinnati               OH       45246
 126     Southgate Mall                        2901 Brooks St,#H-2.                         Missoula                 MT       59801
 128     Eastridge Mall                        601 SE Wyoming Blvd. - Space 270             Casper                   WY       82609
 129     Frontier Mall                         1400 Dell Range Blvd, Space #91              Cheyenne                 WY       82009
 130     Crossroads Center                     2060 Crossroads Blvd. Space 220              Waterloo                 IA       50702
 131     College Square Mall                   1395 College Square Mall                     Cedar Falls              IA       50613
 132     Crossroads Mall                       217 South 25th Street; Space E-5             Fort Dodge               IA       50501
 133     North Grand Mall                      2801 Grand Avenue #1375                      Ames                     IA       50010
 136     Richland Mall                         625 Richland Mall Space A4                   Mansfield                OH       44906
 137     Lindale Mall                          4444 1st Ave NE, #78                         Cedar Rapids             IA       52402
 138     Kennedy Mall                          555 JFK Road Space 274                       Dubuque                  IA       52002
 139     Westland Mall                         550 S Gear Ave Space 33                      West Burlington          IA       52655
 140     Peru Mall                             3940 Route 251, Ste V12                      Peru                     IL       61354
 141     St. Clair Square Mall                 107 St. Clair Square                         Fairveiw Heights         IL       62208
 143     CherryVale Mall                       7200 Harrison Ave. Space E-64                Rockford                 IL       61112
 145     Lakeside Mall                         14000 Lakeside Circle #2510                  Sterling Heights         MI       48313
 147     Quincy Mall                           3347 Broadway Space 3363                     Quincy                   IL       62301
 148     Florence Mall                         1132 Florence Mall                           Florence                 KY       41042
 152     Colony Square Mall                    3575 N Maple Ave #164                        Zanesville               OH       43701
 163     Columbia Mall                         1321 N. Columbia Center Blvd.#401A           Kennewick                WA       99336
 164     Citadel Mall                          750 Citadel Drive East Space #2012           Colorado Springs         CO       80909
 165     Pueblo Mall                           3284 Dillion Drive, #E-08A                   Pueblo                   CO       81008
 167     Mesa Mall                             2424 US-6 & 50 Mesa Mall, Suite #92A         Grand Junction           CO       81505
 170     South Plains Mall                     6002 Slide Road, Spc B13                     Lubbock                  TX       79414
 171     Westgate Mall                         7701 West Interstate 40 #160                 Amarillo                 TX       79121
 173     Sunset Mall                           4001 Sunset Dr #1102                         San Angelo               TX       76904
 174     Parkdale Mall                         6155 Eastex Freeway, Space 266               Beaumont                 TX       77706
 177     Firewheel Town Center                 255 Cedar Sage Dr.                           Garland                  TX       75040
 178     Broadway Square                       4601 S. Broadway Ave                         Tyler                    TX       75703
 179     Longview Mall                         3500 McCann Rd Space #J02A                   Longview                 TX       75605
 181     Monroeville Mall                      223 Monroeville Mall                         Monroeville              PA       15146
 183     Grand Central Mall                    P.O. Box 6041 Space 280                      Vienna                   WV       26105
 184     Morgantown Mall                       9317 Mall Road Space # 907                   Morgantown               WV       26501
 185     Market Place Mall                     701 Miracle Mile Drive                       Rochester                NY       14623
 190     Oakwood Mall                          4125 West Garriot Road l F-2                 Enid                     OK       73703
 199     Woodland Hills Mall                   7021 South Memorial Drive: Suite 221         Tulsa                    OK       74133
 202     White Oaks Mall                       2501 West Wabash Ave Space E-11              Springfield              IL       62704
 203     Northwoods Mall                       2200 W War Memorial Dr, Ste DL07             Peoria                   IL       61613
 207     Brookfield Square                     95 N. Moorland Rd, Space #D2                 Brookfield               WI       53005
 209     Mall at Turtle Creek                  3000 East Highland Suite 602                 Jonesboro                AR       72401
 210     Central Mall                          5111 Rogers Ave. Box 40A                     Fort Smith               AR       72903
 212     Northtown Mall                        262 Northtown Drive Space H-20               Blaine                   MN       55434
 213     Burnsville Center                     1080 Burnsville Center                       Burnsville               MN       55306
 214     The Mall at Hays                      2918 Vine Street Space 270                   Hays                     KS       67601
 217     Four Seasons Town Centre              P.O. Box 282 301 Four Seasons Town Center    Greensboro               NC       27407
 218     Asheville Mall                        3 S Tunnel Rd. Space #G08                    Asheville                NC       28805
 219     Hanes Mall                            3320 Silas Creek Parkway Suite #GL3332       Winston-Salem            NC       27103
 220     Apache Mall                           658 Apache Mall Space 220                    Rochester                MN       55902
 221     Oakview Mall                          3301 144th St. S. Suite 1025 Space - D14A    Omaha                    NE       68144
 226     Maplewood Mall                        3001 White Bear Ave N. Unit #2047A           St. Paul                 MN       55109




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  Loc                       Location                                 Location                  Location       Location   Postal
Number                       Name                                    Address                     City          State     Code
 230     Battlefield Mall                        2825 Glenstone Avenue E04C            Springfield              MO       65804
 232     Columbia Mall                           2300 Bernadette Dr. Suite #318        Columbia                 MO       65203
 233     East Hills Shopping Center              3702 Frederick Ave #22                St. Joseph               MO       64506
 234     Mid Rivers Mall                         1010 Mid Rivers Mall                  St. Peters               MO       63376
 235     South County Center                     415 South County Centerway #415       Mehlville                MO       63129
 236     Northpark Mall                          101 North Range Line Space 230        Joplin                   MO       64801
 244     Quincy Place                            1110 N Quincy Ave Box 18, Space #2    Ottumwa                  IA       52501
 245     Valley West Mall                        1551 Valley West Dr. #257             West Des Moines          IA       50266
 250     Garden City Plaza                       2214 E. Kansas Ave                    Garden City              KS       67846
 251     Central Mall                            2259 South 9th Street, #26            Salina                   KS       67401
 254     Manhattan Town Center                   100 Manhattan Town Center Space 685   Manhattan                KS       66502
 255     West Ridge Mall                         1801 SW Wanamaker Rd, Unit #G18       Topeka                   KS       66604
 271     Honey Creek Mall                        3401 South Highway 41 Space J-7       Terre                    IN       47802
 272     Tippecanoe Mall                         2415 Sagamore Pkwy S Space # C01      Lafayette                IN       47905
 275     Mall of Monroe                          2121 N. Monroe St.. Unit #565         Monroe                   MI       48162
 276     Genesee Valley Mall                     3365 South Linden Road Space 570      Flint                    Mi       48507
 277     Midland Mall                            6800 Eastman Ave E552                 Midland                  MI       48642
 137     Subtotal: Stores

         Home Office & Warehouse                 1001 N 25th St                        Fargo                    ND       58102
         Vanity.com (web)                        222 7th Ave N, Unit 100               Fargo                    ND       58102
  2      Subtotal: Distribution Centers




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                                              EXHIBIT B

                                         SALE GUIDELINES

A.      The Sale shall be conducted so that the Stores in which sales are to occur will remain open no
longer than during the normal hours of operation provided for in the respective leases for the Stores.

B.     The Sale shall be conducted in accordance with applicable state and local “Blue Laws”, where
applicable, so that no Sale shall be conducted on Sunday unless the Merchant had been operating such
Store on a Sunday.

C.      On “shopping center” property, Consultant shall not distribute handbills, leaflets or other
written materials to customers outside of any Stores’ premises, unless permitted by the lease or, if
distribution is customary in the “shopping center” in which such Store is located; provided that
Consultant may solicit customers in the Stores themselves. On “shopping center” property, Consultant
shall not use any flashing lights or amplified sound to advertise the Sale or solicit customers, except as
permitted under the applicable lease or agreed to by the landlord.

D.       At the conclusion of the Sale, Consultant shall vacate the Stores in broom clean condition.
Consultant may abandon any FF&E not sold in the Sale at the Stores, the DCs or Merchant’s corporate
offices at the conclusion of the Sale without cost or liability of any kind to Consultant. Any abandoned
FF&E left in a Store after a lease is rejected shall be deemed abandoned to the landlord having a right
to dispose of the same as the landlord chooses without any liability whatsoever on the part of the
landlord to any party and without waiver of any damage claims against the Merchant. For the
avoidance of doubt, as of the Sale Termination Date, Consultant may abandon, in place and without
further responsibility or liability of any kind, any FF&E located at a Store, DC or Merchant’s corporate
offices.

E.      Prior to entry of the Interim Retention Order, Consultant may advertise the sale as a “sale on
everything”, “everything must go” or similar themed sale. Following, and subject to, the entry of the
Interim Retention Order and/or the Final Retention Order (as applicable), Consultant may also
advertise the sale as a “store closing”, “total liquidation” and/or “going-out-of-business” sale, as
dictated by the respective Interim Retention Order and/or the Final Retention Order (as applicable).

F.      Consultant shall be permitted to utilize display, hanging signs, and interior banners in
connection with the Sale; provided, however, that such display, hanging signs, and interior banners
shall be professionally produced and hung in a professional manner. The Merchant and Consultant
shall not use neon or day-glo on its display, hanging signs, or interior banners. Furthermore, with
respect to enclosed mall locations, no exterior signs or signs in common areas of a mall shall be used
unless otherwise expressly permitted in these Sale Guidelines. In addition, the Merchant and
Consultant shall be permitted to utilize exterior banners at (i) non-enclosed mall Stores and (ii)
enclosed mall Stores to the extent the entrance to the applicable Store does not require entry into the
enclosed mall common area; provided, however, that such banners shall be located or hung so as to
make clear that the Sale is being conducted only at the affected Store, shall not be wider than the
storefront of the Store, and shall not be larger than 4 feet x 40 feet. In addition, the Merchant and
Consultant shall be permitted to utilize sign walkers in a safe and professional manner and in
accordance with the terms of the Interim Retention Order and/or the Final Retention Order. Nothing
contained in these Sale Guidelines shall be construed to create or impose upon Consultant any
additional restrictions not contained in the applicable lease agreement.

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F.      Conspicuous signs shall be posted in the cash register areas of each of the affected Stores to
effect that “all sales are final.”

G.      Except with respect to the hanging of exterior banners, Consultant shall not make any
alterations to the storefront or exterior walls of any Stores.

H.      Consultant shall not make any alterations to interior or exterior Store lighting. No property of
the landlord of a Store shall be removed or sold during the Sale. The hanging of exterior banners or in-
Store signage and banners shall not constitute an alteration to a Store.

I.     Consultant shall keep Store premises and surrounding areas clear and orderly consistent with
present practices.

J.      Subject to the provisions of the Agreement, Consultant shall have the right to sell all furniture,
fixtures, and equipment located at the Stores, the DCs and Merchant’s corporate offices (the “FF&E”).
Consultant may advertise the sale of the FF&E in a manner consistent with these guidelines at the
Stores, the DCs and Merchant’s corporate offices. The purchasers of any FF&E sold during the sale
shall be permitted to remove the FF&E either through the back shipping areas at any time, or through
other areas after applicable business hours. For the avoidance of doubt, as of the Sale Termination
Date, Consultant may abandon, in place and without further responsibility, any FF&E at the Stores, the
DCs and Merchant’s corporate offices.

K.      Consultant shall be entitled to include Additional Merchandise in the Sale in accordance with
the terms of the Interim Retention Order and/or the Final Retention Order and the Agreement.

L.      At the conclusion of the Sale at each Store, pending assumption or rejection of applicable
leases, the landlords of the Stores shall have reasonable access to the Stores’ premises as set forth in
the applicable leases. The Merchant, Consultant and their agents and representatives shall continue to
have exclusive and unfettered access to the Stores.

M.      Post-petition rents shall be paid by the Merchant as required by the Bankruptcy Code until the
rejection or assumption and assignment of each lease. Consultant shall have no responsibility therefor.

N.     The rights of landlords against Merchant for any damages to a Store shall be reserved in
accordance with the provisions of the applicable lease.

O.      If and to the extent that the landlord of any Store affected hereby contends that Consultant or
Merchant is in breach of or default under these Sale Guidelines, such landlord shall email or deliver
written notice by overnight delivery on the Merchant’s counsel and Consultant’s counsel as follows:

                       If to Consultant:

                       Tiger Capital Group, LLC
                       60 State Street, 11th Floor
                       Boston, MA 02109
                       Attn: Michael McGrail
                       Facsimile: (617) 523-3007
                       Email: mmcgrail@tigergroup.com


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                     If to Merchant:

                     Vanity Shop of Grand Fork, Inc.
                     1001 North 25th Street
                     Fargo, ND 58102
                     Attn: Jill Motschenbacher
                     Facsimile: (701) 237-0861
                     Email: jmotschen@vanity.com




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                             Exhibit C– Budget


        Advertisement             $   154,895

        Supervision                   508,956

        Miscellaneous                  60,000

        Total Consultant's Exp.   $   723,851


        Note:
        (1) Assumes an 5.0 ‐week Sale from Thu, 03/02 ‐ Wed, 04/05.
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                                            EXHIBIT C

                                          (Sale Guidelines)




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                                         SALE GUIDELINES

A.      The Sale shall be conducted so that the Stores in which sales are to occur will remain open no
longer than during the normal hours of operation provided for in the respective leases for the Stores.

B.     The Sale shall be conducted in accordance with applicable state and local “Blue Laws”, where
applicable, so that no Sale shall be conducted on Sunday unless the Merchant had been operating such
Store on a Sunday.

C.      On “shopping center” property, Consultant shall not distribute handbills, leaflets or other
written materials to customers outside of any Stores’ premises, unless permitted by the lease or, if
distribution is customary in the “shopping center” in which such Store is located; provided that
Consultant may solicit customers in the Stores themselves. On “shopping center” property, Consultant
shall not use any flashing lights or amplified sound to advertise the Sale or solicit customers, except as
permitted under the applicable lease or agreed to by the landlord.

D.       At the conclusion of the Sale, Consultant shall vacate the Stores in broom clean condition.
Consultant may abandon any FF&E not sold in the Sale at the Stores, the DCs or Merchant’s corporate
offices at the conclusion of the Sale without cost or liability of any kind to Consultant. Any abandoned
FF&E left in a Store after a lease is rejected shall be deemed abandoned to the landlord having a right
to dispose of the same as the landlord chooses without any liability whatsoever on the part of the
landlord to any party and without waiver of any damage claims against the Merchant. For the
avoidance of doubt, as of the Sale Termination Date, Consultant may abandon, in place and without
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enclosed mall Stores to the extent the entrance to the applicable Store does not require entry into the
enclosed mall common area; provided, however, that such banners shall be located or hung so as to
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accordance with the terms of the Interim Retention Order and/or the Final Retention Order. Nothing
contained in these Sale Guidelines shall be construed to create or impose upon Consultant any
additional restrictions not contained in the applicable lease agreement.

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F.      Conspicuous signs shall be posted in the cash register areas of each of the affected Stores to
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                       Tiger Capital Group, LLC
                       60 State Street, 11th Floor
                       Boston, MA 02109
                       Attn: Michael McGrail
                       Facsimile: (617) 523-3007
                       Email: mmcgrail@tigergroup.com


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                     If to Merchant:

                     Vanity Shop of Grand Fork, Inc.
                     1001 North 25th Street
                     Fargo, ND 58102
                     Attn: Jill Motschenbacher
                     Facsimile: (701) 237-0861
                     Email: jmotschen@vanity.com




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